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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

Ross Hecox, individually and as next of friend for
his minor child R.E.H.,

Reid Hecox,

For themselves and for those similarly situated
minor individuals,                                                JURY TRIAL DEMANDED
                              Plaintiffs,

v.                                                                 CASE NO: 1:23-cv-1006-JRR

DoorDash, Inc.,

                             Defendants.

                  FIRST AMENDED CLASS ACTION COMPLAINT FOR
                 DECLARATORY JUDGMENT, MONETARY DAMAGES,
                INJUNCTIVE RELIEF, AND DEMAND FOR JURY TRIAL

       Plaintiff Ross Hecox (“Plaintiff Hecox”), individually and as next of friend for his minor

child R.E.H, and Plaintiff Reid Hecox (“Plaintiff R. Hecox”) (collectively “Plaintiffs), for

themselves and those similarly situated, by and through their undersigned counsel, based on their

reasonable investigation, and pursuant to Rules 17(c) and 23(b)(2) and (3) of the Federal Rules

of Civil Procedure, bring this suit as a class action seeking appropriate declaratory and injunctive

relief, actual monetary and treble damages, and attorney’s fees and costs, against and from

DoorDash, Inc., (“DoorDash”), for reasons set forth herein (“First Amended Complaint”).

       Plaintiffs file this First Amended Complaint as a matter of course pursuant to Fed. R. Civ.

P. 15(a). The First Amended Complaint asserts two claims under the Federal Racketeer

Influenced Corrupt Organization statute, 18 U.S.C. § 1961, et seq. and modifies, clarifies, and

expands on assertions in the Complaint, including scope of recoverable damages.
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                                  NATURE OF THE ACTION

       1.      This case challenges certain fees that DoorDash imposes on consumers.

DoorDash is “an online marketplace platform using web-based technology that connects

contractors, restaurants and/or other businesses” to provide business-to-consumer deliveries. 1

With an estimated 32 million users of its technology, DoorDash earns billions of dollars in

annual revenue. 2 Yet, DoorDash generates its revenues not only through heavy-handed tactics

that take advantage of struggling merchants and a significant immigrant driver workforce, but

also through deceptive, misleading, and fraudulent practices that illegally deprive consumers of

millions, if not billions, of dollars annually. This lawsuit details DoorDash’s illegal pricing

scheme and seeks to hold DoorDash accountable for its massive fraud on consumers, including

one of the most vulnerable segments of society, minor children.

       2.      Despite its short ten-year existence, DoorDash’s history is replete with predatory

tactics toward the contractors, merchants, and consumers using its technology platform. For

example, DoorDash retained part of the tips that consumers paid to the contracted drivers (called

“Dashers”) despite DoorDash’s representations that the Dashers received the tips in their entirety

after each delivery. DoorDash was sued for its tip retention practice. 3 While DoorDash, now,

purportedly pays Dashers the entire tip amount, the company still holds its Dashers’ daily



1
  Attached hereto at Exhibit (“Ex.”) 1, Independent Contractor Agreement - United States,
DoorDash Dashers, DOORDASH (Apr. 14, 2023), https://help.doordash.com/legal/document?
type=dx-ica&region=US&locale=en-US (citing recitals).
2
 Ex. 2, David Curry, DoorDash Revenue and Usage Statistics (2023), BUSINESS OF APPS (May
2, 2023), https://www.businessofapps.com/data/doordash-statistics/.
3
  See Ex. 3, AG Racine Reaches $2.5 Million Agreement with DoorDash for Misrepresenting
that Consumer Tips Would Go to Food Delivery Drivers, OFFICE OF THE ATTORNEY GENERAL
FOR THE DISTRICT OF COLUMBIA (Nov. 24, 2020), https://oag.dc.gov/release/ag-racine-reaches-
25-million-agreement-doordash.


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compensation (including tips) on each order for up to a week, despite having the ability to pay

them immediately. If the drivers want to receive their earned compensation daily, Dashers must

pay DoorDash a “Fast Pay” fee to release those funds daily. 4 With reportedly six million Dashers

performing deliveries each year, 5 DoorDash stands to make millions in interest by holding its

drivers’ compensation weekly and millions more by charging drivers a Fast Pay fee to receive

funds they already earned.

         3.      Targeting immigrants to work as drivers, 6 DoorDash knows many Dashers are

forced to pay the Fast Pay fee because they lack resources and need money desperately.

DoorDash then leverages the drivers’ desperation by implementing the weekly hold period and

levying the “Fast Pay” fee to force the Dashers to participate in its DasherDirect Program. Under

the DasherDirect Program, DoorDash pays participating drivers their compensation daily with

“no fee,” but makes that payment through a direct deposit on a VISA debit card that Stride Bank

underwrites. 7 Stride Bank then pools the Dashers’ funds and “deposit[s] those funds at one or



4
 See Ex. 4, DoorDash Dasher Support, How Dasher Pay Works, DOORDASH, https://help.
doordash.com/dashers/s/article/How-is-Dasher-pay-calculated?language=en_US (last visited
May 3, 2023); Ex. 5, DoorDash Dasher Support, What is Fast Pay?, DOORDASH, https://help.
doordash.com/dashers/s/article/What-is-Fastpay?language=en_US (last visited May 3, 2023).
5
    Ex. 6, Excerpts from DoorDash, Inc., Annual Report (Form 10-K), at 7 (Feb. 24, 2023).
6
 See, e.g., Ex. 7, DoorDash, FACEBOOK (Sept. 6, 2022, 12:23 PM), https://www.facebook.com/
DoorDash/posts/pfbid035wvdSt6aJZ9TJEEn15o7vBGF71x3DvFZFb2XdWLzCEx4yccKAPzL5
hiT51Sfj49fl; Ex. 8, Kimiko de Freytas-Tamura, Food delivery apps are booming, while their
workers often struggle., N.Y. TIMES (Nov. 30, 2020), https://www.nytimes.com/2020/11/30/
world/food-delivery-apps-are-booming-while-their-workers-often-struggle.html; see also Ex. 9,
Claudia Irizarry Aponte, DoorDash Wanted to Teach Delivery Workers About Their Rights. It
Backfired., THE CITY (July 31, 2022, 7:00 PM EST), https://www.thecity.nyc/queens/2022/7/31/
23284495/doordash-immigrant-groups-workers (noting that immigrant drivers accused
DoorDash of stealing their money).
7
 Ex. 10, DoorDash Dasher Support, Introduction to DasherDirect, DOORDASH, https://help.
doordash.com/dashers/s/article/Introduction-to-DasherDirect?language=en_US (last visited May
3, 2023).


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more FDIC insured banks” for investment purposes. 8 Payfare, Inc. created a mobile application

for the DasherDirect Program that allows Dashers to conduct digital banking with Stride Bank.

The DasherDirect Program and/or Stride Bank are enterprises that in effect control most of the

Dashers’ funds for much longer than a week. Upon information and belief, DoorDash receives

fees under the DasherDirect Program from the drivers’ invested funds and their debit card usage

and those fees exceed what DoorDash would earn charging drivers only for Fast Pay fees.

       4.       DoorDash engages in a similar pay scheme with restaurants. DoorDash says it is

neither “a restaurant” nor in “the food preparation businesses,” 9 but it still takes food orders from

consumers, collects consumers’ payments, and retains a portion of each consumer payment as a

“commission” on each order without ever telling consumers about that hidden fee. DoorDash

also includes fees in promotional and sponsored menu items advertised for sale on the platform

without ever informing consumers about those fees. Because DoorDash’s hidden fees (which

include hidden commission, marketing, sponsored listing, and credit card transactions fees)

reduce profit margins on food orders, restaurants must increase their prices. 10 DoorDash in effect

earns millions, if not more, strong-arming drivers and merchants (and forcing them to capitulate

to DoorDash’s questionable billing tactics), while consumers bear the unsettling burden of the

increased cost from the hidden fees.


8
 Ex. 11, DASHERDIRECT CARDHOLDER AGREEMENT ¶ I(1) (Mar. 16, 2023), https://payfare.
github.io/doordash/en-us/assets/documents/dasherdirect-cardholder-agreement.pdf.
9
 Ex. 1, Independent Contractor Agreement – United States, DoorDash Dashers, DOORDASH
(Apr. 14, 2023), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-
US (citing recitals).
10
  See Ex. 12, DoorDash Merchant Support, Level Pickup Pricing, DOORDASH, https://help.
doordash.com/merchants/s/article/What-is-level-pickup-pricing?language=en_US (last visited
May 3, 2023); Ex. 13, Sara DeForest, Food Delivery and Pickup Commissions and Fees,
Explained, DOORDASH FOR MERCHANTS (May 2, 2023), https://get.doordash.com/en-
us/blog/food-delivery-pricing.


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       5.      DoorDash’s consumer-facing, predatory pricing practices are unsettling in several

other respects. First, DoorDash charges consumers “city” or regulatory response fees, creating

the illusion for consumers that local governments impose these fees. DoorDash engages in this

deceptive practice in part to circumvent limitations on food commissions in certain areas. Cities

have sued DoorDash for imposing these unauthorized fees. 11 Second, DoorDash provides no

delivery, but still charges consumers a range of delivery fees. Third, DoorDash disavows that it

controls the manner and means of deliveries, but still charges consumers an “express” or

“priority” fee for delivering “direct to you.” DoorDash promises this “direct to you” service

without ever informing Dashers (whom DoorDash knows may deliver for companies besides

DoorDash) that the DoorDash consumers paid for a priority delivery that is advertised as going

directly to them. As a result, these “express” delivery orders average around the same delivery

time as standard orders. Finally, DoorDash charges consumers an “expanded range delivery” fee

on orders “outside of [their] normal delivery area,” but DoorDash never creates “normal delivery

areas” for each consumer. Rather, DoorDash creates delivery areas around restaurants based on

the restaurants’ service level plan (meaning how much they pay DoorDash). And DoorDash may

send certain consumers’ orders (like low-cost McDonalds orders) to restaurant locations further

from the consumer’s home (bypassing closer locations), which may trigger the expanded range

fee, and “justify” increased “delivery” costs. Moreover, DoorDash applies the expanded range

fee on occasion as a likely method to subsidize lost revenues from discounted fees under the


11
   See Ex. 14, Craig Clough, Chicago Accuses Grubhub, DoorDash Of Deceptive Practices,
LAW360 (Aug. 27, 2021, 6:03 PM EST), https://www.law360.com/consumerprotection/
articles/1417060/chicago-accuses-grubhub-doordash-of-deceptive-practices; Ex. 15, Ashok
Selvam, As Chicago’s Lawsuits Versus DoorDash and Grubhub Proceed, San Francisco May
Settle, EATER CHICAGO (July 28, 2022, 1:45 PM CST), https://chicago.eater.com/2022/7/28/
23277908/chicago-doordash-grubhub-lawsuit-delivery-company-update-san-francsico-
settlement.


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DashPass Program (which are consumer accounts that pay DoorDash a flat monthly fee for

discounted delivery fees). And, as tests indicate, DoorDash charges the expanded range fee on

iPhone users more often than Android users and charges iPhone users more for “delivering”

(likely because studies reveal iPhone users earn more). These tactics are simply money grabs.

       6.      DoorDash’s fees are deceptive, misleading, and otherwise fraudulent. DoorDash

promises services that it does not provide, including charging consumers a premium amount for

deliveries that DoorDash does not perform. DoorDash’s “delivery” fees are designed to make the

“service fee” it charges to “operate” its technology appear smaller. After all, as even DoorDash

concedes in obscure fine print, it “has no obligation to itemize its costs” under the many different

categories of fees that DoorDash advertises. 12 Rather, DoorDash uses this deceptive practice to

trick consumers into believing Dashers receive the “delivery-related” fees when, in reality, each

and every “delivery fee” is retained in total by DoorDash. If DoorDash instead bundled all of its

delivery fees into one large service fee, that practice would raise questions in a consumer’s mind

whether using DoorDash’s platform is truly worth the cost. In other words, DoorDash utilizes a

psychologically manipulative pricing structure that strategically misleads, deceives, and defrauds

consumers into using the technology platform at a much higher, premium cost.

       7.      Two critical components of DoorDash’s fraud are its misleading “explanations”

of fees and its false advertising on its app and on its website. DoorDash uses oddly placed

informational tabs that are designed to dissuade consumers from seeking more details about the

true nature of its charges through misleading and contradictory statements. The consumer can

only find “more details” about DoorDash’s fees by piecing together its statements in legal terms


12
  Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH
¶ 12(a) (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.


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and other admissions buried in various places on its website. DoorDash also uses deceptive

strikethrough pricing, partition pricing, drip pricing, price discrimination and dark patterns as

part of a bait-and-switch advertising scheme to market food and delivery costs to consumers.

DoorDash defrauds consumers through “estimated” delivery windows. The delivery windows

advertised before an order is placed are usually far less than actual delivery windows, which are

shown immediately after an order is placed. The consistent difference between the advertised and

real delivery windows suggests DoorDash uses an algorithm to set shorter advertised delivery

windows to mislead consumers into believing orders will be delivered sooner. Indeed, DoorDash

uses algorithms and “engineering” in virtually all aspects of its operations to maximize profits

even at the sake of candor. DoorDash then uses the mail to send its advertisements with

purported “discount offers” that solicit consumers to become victims of its fraudulent billing

practices. Moreover, DoorDash uses e-mails and text messages to carry out its fraudulent scheme

on unsuspecting consumers. DoorDash’s use of the mail, text messages, and e-mail to further its

fraud on consumers represents predicate acts for its racketeering activities. DoorDash then

invests the money it has received from its fraud on consumers in the DasherDirect Program,

which, in turn, generates even more money for DoorDash. In the end, DoorDash dupes naive

consumers into paying more for using its platform and paying for services they never receive.

DoorDash’s pattern of illegal pricing practices not only violates federal, state, and common laws,

but also deprives consumers of millions, if not billions, of dollars annually.

       8.      Far worse, DoorDash directly targets minor children as part of its deceptive and

deceitful scheme. DoorDash engages in advertising campaigns on television and in social media

(like its Sesame Street campaign) that encourage minors to use its service. DoorDash does

nothing to discourage the Play Store from advertising the DoorDash App as “E” for Everyone, or




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the Apple App Store from advertising it as “12+”, or otherwise restrict minors from downloading

the DoorDash App. Nor does DoorDash use any age verification methods to stop minors from

registering to use its platform, despite having the technological capabilities to do so. In fact, the

DoorDash App has no parental controls whatsoever, making it so easy for a child to use the

platform that a two-year old ordered thirty-one cheeseburgers on DoorDash. 13 And Dashers

deliver to children at their high schools so frequently that some schools set up delivery tables

outside for orders, while others were forced to ban deliveries because the deliveries became

disruptive and created potential security risks. As a result, a vulnerable population, minor

children, falls prey to DoorDash’s predatory pricing practices when ordering from the on-

demand service. But DoorDash does not care.

       9.      DoorDash believes it is effectively bulletproof against consumer claims because

of its Terms and Conditions—the foundation of its illegal pricing practices. DoorDash’s Terms

and Conditions transform recognized liability avoidance into illegal liability evasion. Its Terms

and Conditions strip consumers of recognized protections by forcing them to waive their right to

trial; requiring them to pursue claims in secret arbitration (which also deprives the public of the

ability to learn about DoorDash’s illegal practices); prohibiting consumers from exercising their

right to proceed as a class; obligating consumers to indemnify DoorDash for liability; reducing

the applicable statute of limitations from years to mere months; and restricting consumers’ right

to injunctive relief that could prohibit DoorDash from continuing its illegal practices. Relying on

the fact that hungry consumers will likely fail to notice, read, or understand its complex terms

and conditions, DoorDash buries some of its highly deceptive bait-and-switch practices in pages



13
 Good Morning America, 2-year-old orders 31 cheeseburgers via DoorDash after taking
mom’s phone, YOUTUBE (May 19, 2022), https://www.youtube.com/watch?v=Bk2vLDGJ2rw.


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of legalese. With these terms of adhesion in place (coupled with the nominal cost of each

consumer transaction and virtually no exposure from its drivers or merchants given their own

restrictive contracts), DoorDash acts with impunity in its charging practices.

       10.     DoorDash believes it has created the perfect predatory pricing scheme—one in

which it makes all the rules and keeps the money, while consumers, merchants, and drivers hold

all the risk of higher prices and liability. In effect, DoorDash uses its Terms and Conditions as a

shield and a sword to accomplish its deception. DoorDash uses its Terms and Conditions as a

sword against consumers by subjecting them to fraudulent prices and fees for services it neither

performs nor provides. In doing so, DoorDash mistakenly believes consumers tacitly agreed to

aspects of its shady practices under its Terms and Conditions, thereby making them legally

permissible. DoorDash then uses the same Terms and Conditions to shield itself from exposure

through indemnification provisions, liability limitations and exculpatory agreements, forced

acknowledgments, and waivers of rights. The results: DoorDash believes a consumer can only

sue in secret arbitration, on an individual basis, with a six-month statute of limitations, and

cannot use injunctive relief to stop DoorDash from continuing its devious practices. But

DoorDash’s beliefs are premised on a fundamentally flawed position.

       11.     DoorDash believes its Terms and Conditions represent an enforceable contract

with consumers, but DoorDash is wrong for at least three reasons. First, DoorDash’s purported

contract lacks an offer, acceptance, sufficient consideration, and a meeting of the minds—basic

contractual elements. Second, consumers must agree affirmatively to be bound by the Terms and

Conditions because they represent a contract of adhesion that waives fundamental rights granted

by the United States Constitution (jury trials and access to public courts) and the Federal Rules

of Civil Procedure (class and collective actions). But here, DoorDash has consumers purportedly




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“agree” to contract by simply clicking a button the primary purpose of which is not acceptance of

the oppressive contract terms; rather, the click represents performance of a separate action, namely

creating an account to use the technology platform. Third, DoorDash’s purported contract does

not apply to minor children. Minors lack the capacity to contract, and DoorDash’s Terms and

Conditions disaffirm any contract with a minor. Absent an enforceable contract, DoorDash must

answer for its fraudulent actions before this Court with respect to its delivery fee, priority

delivery fee, regulatory fee, expanded range delivery fee, DashPass fee, and hidden marketing

and commission fees, which all increase the cost of the service fees DoorDash charge consumers.

       12.     This lawsuit seeks to end DoorDash’s massive fraud on consumers. Plaintiffs, for

themselves and a nationwide class of individuals, including minors, now sue DoorDash for its

predatory pricing practices. In doing so, Plaintiffs seek declaratory and injunctive relief and

monetary damages of no less than $1,000,000,000.00 (One Billion Dollars) for all consumers

who fell prey to DoorDash’s illegal pricing scheme over the past four years.

                                          THE PARTIES

       13.     Plaintiff Hecox is a citizen of the State of Maryland and a resident of Carroll

County. He is the father of Plaintiffs R.E.H. and R. Hecox. Plaintiff Hecox is a divorced, single

parent who must ensure that his children are fed when in his care, while also balancing his work

responsibilities and shuttling his children to school and sporting activities. Like many parents, he

relies on the on-demand food delivery market to help. Plaintiff Hecox is a consumer and user of

DoorDash and is a DashPass member. Plaintiff Hecox signed up for DoorDash and established

an account in his own name; used the delivery service to place and receive orders; and was

charged and paid a misleading, deceptive and/or fraudulent delivery fee, priority delivery fee,

DashPass fee, promotional and/or sponsor listing marketing fee, food commission fee, regulatory




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fee, and/or expanded range delivery fee. The vast majority, if not all, of Plaintiff Hecox’s

transactions with DoorDash occurred in Maryland. When he signed up for DoorDash, he did not

know of the Terms and Conditions.

       14.     Plaintiff R. Hecox is a citizen of the State of Maryland and a resident of Carroll

County. Plaintiff R. Hecox turned 18 years old in January 2023. He was a consumer and user of

DoorDash, but no longer uses the platform and disaffirms any prior use. Before reaching the age

of majority, Plaintiff R. Hecox established a DoorDash account in his own name; used the food

ordering platform to place and receive orders under his own account; and was charged and paid a

misleading, deceptive and/or fraudulent delivery fee, priority delivery fee, promotional and/or

sponsor listing marketing fee, food commission fee, regulatory fee, and/or expanded range

delivery fee. The vast majority, if not all, of Plaintiff R. Hecox’s transactions with DoorDash

occurred in Maryland. When he signed up for DoorDash, he did not know of the Terms and

Conditions.

       15.     Plaintiff R.E.H. is a citizen of the State of Maryland, a resident of Carroll County

and a minor under the age of 18. He was a consumer and user of DoorDash, but no longer uses

the platform and disaffirms any prior use. Plaintiff R.E.H. established an account with DoorDash

in his own name; used the DoorDash Platform to place and receive orders; and was charged and

paid a misleading, deceptive and/or fraudulent delivery fee, priority delivery fee, promotional

and/or sponsor listing marketing fee, food commission fee, and/or an expanded range delivery

fee. The vast majority, if not all, of Plaintiff R.E.H.’s transactions with DoorDash occurred in

Maryland. When he signed up for DoorDash, he did not know of the Terms and Conditions.

       16.     Plaintiffs bring this case as a class action pursuant to Fed. R. Civ. P. 23(b)(2) and

23(b)(3) on behalf of themselves and all others similarly situated as defined below in paragraphs




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190 through 202. As used herein, “Plaintiffs” refers to both the named Plaintiffs and to members

of the proposed Class and Subclasses. Each Plaintiff has suffered a compensable injury.

        17.     Defendant DoorDash is incorporated in the State of Delaware and has its principal

place of business in the State of California and therefore, for diversity jurisdiction, is a citizen of

both states. Defendant DoorDash conducts business in Maryland. DoorDash is a technology

company that does not prepare or sell food and, thus, DoorDash, the DoorDash Platform, and its

associated technology, is not a necessity. DoorDash is a culpable person under the Racketeer

Influenced and Corrupt Organizations Act, codified as Title IX of the Organized Crime Control

Act of 1970, 18 U.S.C. §§ 1961 to 1968 (“RICO”).

                                  JURISDICTION AND VENUE

        18.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005 and 28 U.S.C. § 1332 because there are over 100 members of the

proposed class, at least one member of the proposed class has different citizenship from the

Defendant, and the total amount in controversy exceeds $5,000,000. This Court also has subject

matter jurisdiction pursuant to 28 U.S.C.§ 1331 and 18 U.S.C. §§ 1964(a) and (c) because this

action involves claims under RICO.

        19.     DoorDash is subject to this Court’s exercise of in personam jurisdiction because

DoorDash: (a) transacts business or performs any character of work or service in the State;

(b) contracts to supply food services in the State; and (c) has caused tortious injury in the State

by an act or omission in the State. Moreover, pursuant to 18 U.S.C. § 1965(b), process may be

served on DoorDash “in any judicial district of the United States” when required by the “ends of

justice.” And pursuant to 18 U.S.C. § 1965(d), process may be served on DoorDash “in any

judicial district in which such person resides, is found, has an agent, or transacts his affairs.”




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          20.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claims occurred in the District of Maryland. Venue is also

proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(c) because DoorDash is subject to the

Court’s personal jurisdiction regarding this action.

                              COMMON FACTUAL ALLEGATIONS

I.    FROM DOORDASH’S NOBLE BEGININGS TO ITS EXPLODING MARKET TO
                  ITS UNSAVORY BUSINESS PRACTICES

     A.         DoorDash’s Noble Beginnings

          21.      DoorDash began in 2012 as PaloAltoDelivery.com (“Palo Alto Delivery”) when

four Stanford University students established a website designed to provide delivery services for

local restaurants to help them increase sales. Unlike other services, Palo Alto Delivery provided

its own delivery force so restaurants could outsource deliveries to Palo Alto Delivery rather than

develop a delivery arm themselves. Palo Alto Delivery’s success quickly attracted investors. In

2013, the company rebranded as DoorDash and shifted its focus to developing technology to

assist business-to-consumer deliveries in the on-demand delivery market.

          22.      “On demand delivery is the process of retailers, restaurants, manufacturers,

grocery stores, etc. [. .,] being able to deliver orders quickly and with no advanced notice. On

demand services have become particularly popular due to the popularization of the on-demand

delivery app, as well as the expansion of eCommerce due to COVID-19.” 14 The on-demand food

delivery industry predominately impacts the country’s most financially vulnerable populations.

A nationwide research study conducted by Zion & Zion reveals the largest user markets for



14
   Ex. 17, Zahava Dalin-Kaptzan, On-Demand Delivery: 7 Fundamentals of Fast, Competitive
Delivery, BRINGG, https://www.bringg.com/blog/delivery/the-on-demand-delivery-experience/
(last visited May 3, 2023).


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online delivery food services are the young and the poor. 15

          23.      The on-demand delivery market represents a significant part of the gig economy.

As one source explains, the “gig economy is a labor market that relies heavily on temporary and

part-time positions filled by independent contractors and freelancers rather than full-time

permanent employees. Gig workers gain flexibility and independence but little or no job security.

Many employers save money by avoiding paying benefits such as health coverage and paid

vacation time. . . . [T]he flexibility of working gigs can actually disrupt the work-life balance,

sleep patterns, and activities of daily life. Flexibility in a gig economy often means that workers

have to make themselves available any time gigs come up, regardless of their other needs, and

must always be on the hunt for the next gig. Competition for gigs has increased, too. And

unemployment insurance usually doesn’t cover gig workers who can’t find employment.” 16

DoorDash plays a significant role in the gig economy by using Dashers to perform deliveries.

     B.         DoorDash’s Growth During the Exploding On-Demand Deliver Market

          24.      Over the past ten years, the on-demand food delivery market enjoyed steady

revenue increases before exploding in popularity during the pandemic starting in 2020. In 2018,

the on-demand food delivery market represented a healthy $82 billion in gross revenues but is

now projected to exceed $200 billion by 2025.17 The growth in this market has been rapid and

DoorDash experienced a similar rapid growth. But as explained herein, DoorDash’s tremendous


15
  Ex. 18, Aric Zion & Thomas Hollman, Food Delivery Apps: Usage and Demographic —
Winners, Losers and Laggards, ZION & ZION (2019), https://www.zionandzion.com/research/
food-delivery-apps-usage-and-demographics-winners-losers-and-laggards/.
16
 Ex. 19, The Investopedia Team, Gig Economy: Definition, Factors Behind It, Critique & Gig
Work, INVESTOPEDIA (Oct. 1, 2022), https://www.investopedia.com/terms/g/gig-economy.asp.
17
   Ex. 20, $9.6 Billion in Investments Spurring Aggressive Expansion of Food Delivery
Companies, FROST & SULLIVAN (Oct. 25, 2019), https://www.frost.com/news/press-releases/9-6-
billion-in-investments-spurring-aggressive-expansion-of-food-delivery-companies/.


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growth in the pursuit of more revenue occurred on the backs of restaurants, contractors, and

especially consumers through a multitude of fraudulent business practices and strategies.

       25.     By late 2018, DoorDash had overtaken Uber Eats as the country’s number two

delivery service and was closing fast on then-number one GrubHub. 18 By September of 2019,

DoorDash controlled thirty-five percent of the on-demand food delivery market in the United

States. 19 With the start of the pandemic in 2020 and the resulting economic crisis, DoorDash’s

deceptive business practices spurred its growth. By March 2022, the company had more than

fifty-nine percent of the monthly market. 20 Less than a year later, by February 2023, DoorDash’s

monthly market share had climbed to 65%, as the illustrations below reflect. 21




18
  Ex. 21, Alison Griswold, DoorDash has overtaken Uber Eats in US online food delivery,
QUARTZ (Feb. 14, 2019), https://qz.com/1549084/doordash-overtook-uber-eats-in-us-online-
food-delivery-second-measure-finds.
19
  Ex. 22, Frank Holland & J.R. Reed, DoorDash continues to lead in the food delivery wars,
CNBC (Nov. 25, 2019, 9:43 AM EST), https://www.cnbc.com/2019/11/21/doordash-continues-
to-lead-in-the-food-delivery-wars.html.
20
  Ex. 23, Tom Kaiser, U.S. Delivery Sales, DoorDash Share Still Growing, FOOD ON DEMAND
(Apr. 28, 2022), https://foodondemand.com/04282022/u-s-delivery-sales-doordash-share-still-
growing/.
21
  Ex. 24, Janine Perri, Which company is winning the restaurant delivery war?, BLOOMBERG
SECOND MEASURE (Apr. 14, 2023), https://secondmeasure.com/datapoints/food-delivery-
services-grubhub-uber-eats-doordash-postmates/.


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          26.      In December 2020, DoorDash’s initial public offering raised $3.37 billion and

gave DoorDash a valuation exceeding $70 billion. 22 The IPO made billionaires out of DoorDash

founders, Tony Xu, Andy Fang, and Stanley Tang.

          27.      During 2020 and 2021, at the height of the COVID-19 pandemic, DoorDash’s

revenue grew significantly. DoorDash had $2.9 billion revenue in 2020, which skyrocketed to

$4.9 billion in 2021. DoorDash’s trend of significantly higher year-over-year revenue and gross

order value continued through 2022, reaching $6.6 billion.23

          28.      In 2021, DoorDash had 25 million active users, most of them in the United States,

an increase of twenty-five percent over 2020. DoorDash reported delivering 1.4 billion orders in

2021, which grew to 1.7 billion orders in 2022. 24 As of 2022, DoorDash had about 450,000

active monthly merchants, 25 and about 25 million active monthly consumers using its platform.

Now, with an estimated 32 million users of its technology, 26 DoorDash serves about 10% of the

entire United States population.

     C.         DoorDash’s Penchant for Unsavory Business Practices

          29.      As DoorDash’s market share grew so did its willingness to engage in unsavory

business practices towards the drivers, merchants, and consumers who use the DoorDash




22
   Ex. 25, Erin Griffith, DoorDash Soars in First Day of Trading, N.Y. TIMES (Mar. 19, 2021),
https://www.nytimes.com/2020/12/09/technology/doordash-ipo-stock.html?smid=url-share.
23
   Daniela Coppola, Annual revenue of DoorDash from 2019 to 2022, STATISTA (Mar. 22, 2023),
https://www.statista.com/statistics/1294498/doordash-annual-revenue/ (chart attached as Ex. 26).
24
  Ex. 27, Gennaro Cuofano, DoorDash Orders, FOURWEEKMBA (Feb. 20, 2023), https://
fourweekmba.com/doordash-orders/.
25
  Ex. 28, Brian Dean, How Many People Use DoorDash in 2023? [New Data], BACKLINKO
(Mar. 27, 2023), https://backlinko.com/doordash-users.
26
   Ex. 2, David Curry, DoorDash Revenue and Usage Statistics (2023), BUSINESS OF APPS (May
2, 2023), https://www.businessofapps.com/data/doordash-statistics/.


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Platform. Beyond the issues discussed previously herein (namely, DoorDash improperly retained

tips; forced struggling gig drivers to pay fees to receive their own money; leveraged or extorted

drivers to participate in programs designed to generate more revenue for DoorDash; and was

sued by Chicago for marking-up menu items, violating the City’s pandemic-related cap on food

delivery fees, and misleading consumers on the nature of fees), 27 DoorDash’s short history is full

of more dubious conduct.

          30.    Former or current Dashers and gig workers complain about DoorDash misleading

the public about Dashers’ earnings through social media marketing campaigns on TikTok. 28 In

other words, like its actions with consumers, DoorDash has a habit of inducing people to engage

with its platform based on misrepresentations.

          31.    Even after a $100 million settlement of a class action alleging that DoorDash

misclassified its Dashers in Massachusetts and California as independent contractors rather than

employees, 29 DoorDash continues to face suit in multiple jurisdictions under the Fair Labor

Standards Act and state equivalents for misclassifying their drivers, including recently in the

United States District Court for the Middle District of Florida, Silva v. DoorDash, No. 6:23-cv-

00104. In these cases, DoorDash moved to compel arbitration. But when sued by nearly 6,000

current or former Dashers in a mass arbitration over the classification of its drivers, DoorDash

sought to avoid its own contractual arbitration provision by litigating in court. 30 Regardless of



27
     Supra ¶¶ 2, 3.
28
  See Driven Wyld, DoorDash Driver EXPOSES Company for False Advertising! The Harsh
Truth! UberEats Grubhub Instacart, YOUTUBE (Apr. 13, 2023), https://youtu.be/cnam6bA3nc4.
29
  Ex. 29, Informational website for the settlement of wage and hour claims of DoorDash
California and Massachusetts Drivers, https://www.doordashclasssettlement.com/ (last visited
May 3, 2023).
30
     Abernathy v. DoorDash, Inc., 438 F. Supp. 3d 1062 (N.D. Cal. 2020).


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the forum, in each case DoorDash still stressed that it is not a delivery company and does not

control its drivers because of its independent contractor model.

       32.     DoorDash has been sued for using the trade dress—names, logos, trademarks, and

other intellectual property—of various restaurants without permission to create the appearance to

consumers that its restaurant offerings are more robust. 31

       33.     DoorDash was sued for false advertising reportedly for falsely listing a mom-and-

pop restaurant struggling during the pandemic as “closed” or “unavailable” on its platform. That

restaurant contends in a class action that “DoorDash deceptively directed customers away from

restaurants that refuse[d] to pay up to a 30% commission for each DoorDash delivery.” 32

       34.     DoorDash has been sued because its Dashers have harmed people, including a

Dasher who killed at least one person when the driver crashed driving for DoorDash while

reading a DoorDash communication. 33 DoorDash still disputed liability for the Dashers’ actions

because the Dasher is an independent contractor.

       35.     Of course, when confronted with its misdeeds DoorDash reverts to the standard

corporate playbook of emphasizing its philanthropic efforts. In many respects these efforts are

contrived and minimal compared to DoorDash’s gross revenues. For example, when facing

negative press over the strong-arm tactics that it used on restaurants during the pandemic,

DoorDash developed an advertising campaign that highlighted its role helping restaurants


31
  Burger Antics v. DoorDash, No. 18-cv-00133 (N.D. Ill.) (alleging that DoorDash was
publicizing a relationship with the restaurant and delivering its food without permission).
32
  Ex. 30, Nicholas Iovino, DoorDash Can’t Duck Restaurant’s False Advertising Suit,
COURTHOUSE NEWS SERVICE (Jan. 19, 2021), https://www.courthousenews.com/doordash-cant-
duck-restaurants-false-advertising-suit/.
33
  Ex. 31, Emilie Raguso, Motorist who killed pedestrian was driving for DoorDash, lawsuit
says, BERKELEYSIDE (Aug. 31, 2021, 4:29 PM), https://www.berkeleyside.org/2021/08/31/
motorist-killed-pedestrian-berkeley-doordash-lawsuit.


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survive during the pandemic, particularly restaurants owned by people of color. 34 While

DoorDash likes to play up its “good citizen” image, its history is far less rosy.

       36.     Frustrated with DoorDash’s pricing approach, several states and municipalities

have adopted legislation regulating how DoorDash charges restaurants. But DoorDash’s

questionable business practices with restaurants pale in comparison to DoorDash’s actions

towards consumers, like Plaintiffs. To that end, Congress has begun investigating DoorDash and

others for their consumer pricing practices. 35

                             II.    HOW DOORDASH WORKS

       37.     DoorDash is “an online marketplace platform using web-based technology that

connects contractors, restaurants and/or other businesses, and consumers [ ]. [DoorDash]’s

software permits registered users to place orders for food and/or other goods and services from

various restaurants and businesses. Once such orders are made, [DoorDash’s] software notifies [a

network of independent] contractors that a Delivery Opportunity is available and the [DoorDash]

software facilitates completion of the delivery.” 36 In other words, DoorDash uses text messaging,

and emails communications extensively as part of its delivery scheme. Each of the contractors,




34
   See DoorDash, SOUTHSIDE MAGNOLIA, YOUTUBE (Oct. 26, 2020), https://www.youtube.
com/watch?v=Q42SPkzI3Dw; see also DoorDash, Soul of the City, YOUTUBE (June 15, 2021),
https://youtu.be/aCriukDwvI4.
35
  Ex. 32, Cristiano Lima, Democrats press Grubhub, DoorDash and Uber on their use of ‘junk
fees’, WASH. POST (Feb. 21, 2023, 9:16 AM EST), https://www.washingtonpost.com/politics/
2023/02/21/democrats-press-grubhub-doordash-uber-their-use-junk-fees/.
36
  Ex. 1, Independent Contractor Agreement - United States, DoorDash Dashers, DOORDASH
(Apr. 14, 2023), https://help.doordash.com/legal/document?type=dx-ica&region=US&locale=en-
US (citing recitals).


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restaurants, and consumers receive such electronic communications. See illustration describing

operations below. 37




     A.         Signing Up to Use the DoorDash Platform

          38.      Consumers, including minor children, who want to have food or other goods

delivered anywhere—whether to their home, office, hotel, ballpark, or school—access DoorDash

in either of two ways: (1) through its website, www.doordash.com, or (2) through the DoorDash

App, which is available either through the Apple App Store or Google Play. The registration

process to create a DoorDash account on both its website and the DoorDash App (collectively

the “DoorDash Platform”) has slightly varied over the years in terms of what consumers see. But

the DoorDash Platform presents a virtually identical user experience when registering to use the

DoorDash technology. Regardless of when one registers while interacting with the platform, or



37
  Ex. 33, Holly Jin et al., Next-Generation Optimization for Dasher Dispatch at DoorDash,
DOORDASH ENGINEERING (Feb. 28, 2020), https://doordash.engineering/2020/02/28/next-
generation-optimization-for-dasher-dispatch-at-doordash/.


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the method one used to create their account, DoorDash always has placed a purported notice of

an its intent to contract with consumers in a cluttered environment and/or in an inconspicuous

manner. The DoorDash registration experience allows consumers to neither manifest an assent to

contractor nor waive fundamental rights knowingly and intelligently.

       (1)     Signing up on Doordash.com

       39.     Logging onto www.doordash.com, a user sees a delivery address sign-in box in

the center top of the home page and a “sign in” tab for returning customers or “sign up” tab for

new customers in the upper right-hand corner of the page. Either the address box or sign-in/up

tabs will allow a user to begin the process of accessing the platform. See illustration below.




       40.     If the first-time user clicks on “sign up,” a prompt appears that is cluttered with

visuals. While requesting basic personal information, DoorDash includes six large, gray boxes

with writing in each indicating that the user should input the user’s first and last name, an email

address, a telephone number, and a password. These boxes take up significant space. The sign-up

prompt includes four large, colorful tabs reading “sign up” or continue with Google, Facebook,



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or Apple. There are no prompts or fields requesting that the user verify his or her age. Nor does

the website tell consumers to read the Terms and Condition or indicate that registering or

otherwise using the website platform binds consumers or creates a contract that incorporates

waivers of important rights. After completing the requested information, a first-time user clicks

on “sign up” and that user is now registered. But presently located above the large, red sign-up

button (in smaller, less prominent font) and squeezed in between the large box requesting a

password, is inconspicuous language that reads: “By tapping ‘Sign Up’ or ‘Continue with

Google, Facebook, or Apple,’” you agree to DoorDash’s Terms and Conditions and Privacy

Policy.” Surrounding the registration process are graphics of food and restaurants and additional

words that command attention. DoorDash has used various iterations of this registration form

since 2019. See illustration below.




       41.     Upon information and belief, as recently as several months ago in January 2023,

and from time-to-time over the last four years, that same (less prominent) language was buried at


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the bottom of the sign-up prompt obscured by other large registration icons for Google,

Facebook, and/or Apple. See illustration below.




       42.     If a first-time user scrolls down the home page without providing an address or

signing-in or signing-up, that user can learn about becoming a Dasher, a partner restaurant, or

downloading the DoorDash App. See illustration below.




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       43.     Scrolling down the home page further, the user can find restaurants. See

illustration below.




       44.     Clicking the “find restaurant” tab will take the user to a “Restaurants near me”

landing page. Upon information and belief, the website uses location information embedded in

the user’s computer or mobile device to identify nearby restaurants. The sign-in and sign-up

buttons remain in the upper right-hand corner and an “enter delivery address” field is on the

upper left-hand side. See illustration below.




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       45.     If a user clicks on a specific restaurant, like Shake Shack for example, a new page

loads forcing the user to enter an address for delivery. See illustration below.




       46.     When a user enters an address, a new page will load informing the user whether

the identified restaurant is within the restaurant’s delivery area. If the address is outside the

restaurant’s delivery area, the user is given the option to change the address, change the order to

pick-up or view other nearby restaurants. 38 See illustration below.




38
  The addresses and other confidential information listed in all screenshots have been redacted
for privacy.


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       47.     Selecting “view other nearby restaurants” allows the user to pursue a variety of

locations by specific food type and other categories of organization in what is called the

DoorDash marketplace. See illustration below.




       48.     A user can then select a specific restaurant to view its menu and select a food item

to add to the cart. See illustration below.




                                                25
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       49.     Once the menu item is added, a user can select “checkout” in the upper right-hand

corner of the page. See illustration below.




       50.     Selecting checkout takes a user to a page on which the user can add a payment

method in the upper right-hand corner, or sign up, sign-in, or proceed with an email address in

the center. Nowhere on this page is there any reference to Terms and Conditions or any notice

that by continuing the user assents to a contract with DoorDash. See illustration below.




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       51.     When a first-time user enters an email address a prompt appears instructing the

individual to “sign-in” to an existing account or “sign up” or “create an account” to use

DoorDash. The Terms and Conditions are not referenced on this page. See illustration below.




       52.     By clicking “create an account” or “sign up,” the first-time user is taken to a

registration page (like the sign-up prompt one sees when selecting sign-up on the home page

after logging onto doordash.com). Upon information and belief, the above-described process has

been substantially similar since 2019.

       53.     This registration page seeks the same basic personal information in the same

format, i.e., large, gray boxes requesting the user’s first and last name, an email address (which is

already populated), a telephone number, and a password. The registration page also allows the

user to continue creating an account the sign-up process through Google, Facebook, or Apple.

Nowhere on the page is there any language that registering to form an account on DoorDash

creates a contract or waives rights. But the consumer’s pending order is reflected to the right of

the sign-up area (almost like a reminder to hurry up and complete the process). And above the



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red sign-up button, in smaller font, is language that reads, “By tapping ‘Sign Up’ or ‘Continue

with Google, Facebook, or Apple,’ you agree to DoorDash’s Terms and Conditions and Privacy

Policy.” Upon information and belief, over time, DoorDash previously located this same

language at various places, including the bottom of the page beneath the other large sign-up

icons (like the illustration in paragraph 41) until moving the location of the language recently.

Below, the registration tabs are fields to enter shipping and payment details related to the

pending order. After filling in the requested information, a first-time user clicks on “sign up” and

completes the registration process. There are no prompts or fields requesting age verification

from the user. See illustration below.




       (2)     Signing Up on the DoorDash App

       54.     A user can access the DoorDash App by downloading it from the Play Store,

Apple Store, or from DoorDash’s website. Once the app is downloaded and opened, users on

either the IOS/Apple or Android/Samsung mobile platforms have engaged in virtually identical

registration experiences since 2019. The user is met with a screen cluttered by food graphics,


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advertisement slogans, and different (albeit large and colorful) registration tabs. In effect, a

returning user can sign into the DoorDash App, and a first-time user is able to create an account

or continue as a guest. For IOS/Apple and Android/Samsung mobile platforms, language on the

app’s initial landing screen in smaller font near the bottom of the page and obscured by much

larger colorful icons reads, “By tapping ‘Sign Up’ or ‘Continue with Google, Facebook, or

Apple,’ a user agrees to DoorDash’s Terms and Conditions and Privacy Policy.” Assuming

consumers look at the bottom of the screen instead of pressing a tab, the words “Terms and

Conditions and Privacy Policy” appear in an even smaller font on the IOS/Apple platform. There

is no language on this page urging consumers to read the Terms and Condition or warning them

that creating an account on the DoorDash App binds consumers contractually and subjects them

to arbitration, waiving fundamental rights. See illustrations below.




                          APPLE/IOS                                        ANDRIOD/SAMSUNG

       55.     Since 2019, if a returning user selects “Continue with Google, Facebook, or

Apple” as an alternative method of signing-into DoorDash, that returning user will be connected

to an existing DoorDash account through that user’s account on Google, Facebook, or Apple. If a


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first-time user selects “Continue with Google, Facebook, or Apple” as an alternative method to

sign up for DoorDash, that first-time user will receive a prompt allowing that user to sign up with

an account on Google, Facebook, or Apple. The prompt includes language at the bottom that

generally states that the first-time user “can review DoorDash’s privacy policy and terms of

service.” The prompt does not inform the first-time user that he or she must “agree” to (let alone

be “bound” by) DoorDash’s “terms of service,” which is a misnomer for its Terms and

Conditions. See illustrations below using Google and Apple as alternative methods for

registering on the DoorDash Platform.




                               Android/Samsung                    Apple/IOS

Upon information and belief, the first-time user registering with Facebook will see a prompt

similar to the illustrations above for alternative registration methods.

       56.     If the user selects continue with email as reflected in the illustrations at paragraph

54, a sign-in/sign up screen will appear. Toggling to sign up, a user is presented with yet another

cluttered registration screen. From time to time, the screen will include advertisements, like a

colorful banner urging the user to sign up for a 40% discount. The screen also requests the same

personal information (consisting of the user’s first and last name, an email address, a telephone


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number, and a password) in large grey boxes with wording that describes the nature of the

information requested. The registration prompt also includes large, colorful tabs that allow the

user to proceed “by tapping” the red “sign up” button or tapping buttons to “continue with

Google, Facebook, or Apple.” There are no prompts or fields requesting that the user verify his

or her age or even acknowledge that the user is over 18 years old. Nor does the app have any

language that urges consumers to read the Terms and Conditions, or that informs consumers that

registering or creating an account on the DoorDash App binds them contractually and subjects

them to arbitration, waiving fundamental rights. But sandwiched between the large red sign-up

button and the large grey password box is the same, less prominent language that reads, “By

tapping ‘Sign Up’ or ‘Continue with Google, Facebook, or Apple,’ you agree to DoorDash’s

Terms and Conditions and Privacy Policy.” See illustration below.




                                                31
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Upon information and belief, since 2019, DoorDash has located this same or similar notice

language in different places previously, including at the bottom of the page beneath other large

sign-up icons (as reflected by the illustration in paragraph 41). DoorDash moved the location of

the language earlier this year.

       57.     If the user continues as a guest, the user will be prompted to provide an address

and then is allowed to browse restaurants, select menu options to be added to the cart, and then

can proceed to checkout. Before continuing to check out, however, the app prompts the guest

user to create an account with the same sign-up requirements as those launched from the initial

screen when opening the DoorDash App and selecting sign up. See illustrations below.




                                                32
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       58.     The DoorDash Platform does not include the Terms and Conditions as a category

in the information menu located in the upper-left corner of the page. See illustrations below.




And the DoorDash Platform buries the Terms and Conditions at the bottom of a lengthy list of

shopping options. Even without selecting the “More” tab to reveal more restaurant options, a

user must scroll through ten screens before the Terms and Conditions appear. Even then,

DoorDash stealthily displays them in a much smaller font which is neither highlighted,

underlined, nor presented in a different color. See illustrations below and on the following page.




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   B.         Using DoorDash’s Platform

        (1)      Placing Orders

        59.      After signing up, a consumer may place orders on DoorDash. Whether using the

DoorDash website or on the DoorDash App, the user experience is virtually the same and has

been that way since 2019. The intuitive nature of DoorDash’s technology makes it easy to use.

        60.      After launching the app or website, consumers are presented with categories of

merchants and below that types of food in the DoorDash marketplace. By scrolling down the

page, a consumer can see restaurants and merchants organized under various categories such as

“Nearby” or “Wallet Friendly” or “Try Something New.” See illustration below.




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       61.     To place an order, a consumer need only select a restaurant, like Chick-fil-A, and

then browse its menu, scrolling down the page to view the various items and then tapping the

menu items and adding them to the cart. The consumer continues adding to the cart until the

order is complete, at which point the consumer views the cart screen to see a populated list of its

contents. Scrolling to the bottom of the cart screen, the consumer can see a summary of charges

which typically consist of a subtotal for food, a delivery fee, a service fee, and taxes. When

completed, a consumer presses continue, which will take the consumer to a screen with delivery

time options (which include express, standard, or scheduled). The delivery time window

advertises the length of time for the order to reach the consumer. Scrolling further down the

page, a consumer can review his or her contact information, instructions on delivery, and a

summary of the order costs. See illustrations below.




       62.     After selecting the delivery window, and confirming the contact information, a

consumer can click the “next” button to proceed with entering your payment method and

eventually placing the order.



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        (2)     Payment Methods

        63.     As for payment methods, DoorDash reserves a section above the place order

button for consumer payment methods. When a user clicks on that section, the DoorDash

Platform reveals the various accepted payment methods. DoorDash takes virtually all forms of

electronic payments. A consumer can add a credit card, Google or Apple Pay, Venmo, PayPal,

gift cards, or debit cards. See illustrations below.




        64.     As DoorDash knows, the wide range of payment methods makes it easy for minor

children to place and pay for orders on DoorDash, given the proliferation of parent-loaded debit

cards like Greenlight and the ability to use gift cards. The varying electronic payment methods

do not impact the user experience on the DoorDash Platform. DoorDash maintains all consumer

order information. The payment method (credit or debit card number) provides DoorDash with

insight into the type of consumer placing an order. See illustrations at paragraph 63.

        (3)     Communicating Order Status through Text Messages and Emails

        65.     After selecting the time, clicking next, and entering the payment method, a

consumer can click place the order to complete the order. Once done, the consumer receives a

summary of the order (including the cost of the food, each line-item fee, estimated tax, and the


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Dasher’s tip, which the consumer can select). Near the bottom of the screen above the “Place

Order” button, a consumer can enter his or her payment methodology. As soon as the “Place

Order” button is touched, the screen shows the real delivery time which is usually different from

the advertised delivery time, and the user can again click to view all details of the order or add

items to the order from another store. See illustrations below.




          66.      DoorDash then sends a series of text messages and/or emails showing each stage

of the order until it is delivered.

     C.         DoorDash Markets Its Platform and Services to Consumers Through the Mail

          67.      In promoting its platform, DoorDash uses the United States Postal Service and

other mail services to send solicitations to consumers, like Plaintiffs, that provide discounts on

DoorDash’s service and advertisement about its offerings. 39 Plaintiff Hecox has received such

mailings soliciting him to use DoorDash. See illustration on the following page.




39
  Ex. 34, Gennaro Cuofano, DoorDash GOV, FOURWEEKMBA (Feb. 20, 2023), https://
fourweekmba.com/doordash-gov/.


                                                  37
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           68.      DoorDash uses the mail so frequently that some websites offer services to stop

DoorDash’s direct mail marketing. 40 See illustration below.




      D.         The Functionality of DoorDash’s Technology

           69.      DoorDash’s technology operates on sophisticated engineering for everything it

does. In describing this work, DoorDash says it “is rapidly growing a logistics platform that

enables millions of orders a day globally, and none of it would be possible without our world-

class engineering team.” 41 DoorDash advertises its engineering as driving its “high impact


40
  Ex. 35, How to Stop Mail from DoorDash, PAPERKARMA, https://www.paperkarma.com/stop-
junk-mail/doordash/ (last visited May 3, 2023).
41
     Ex. 36, DOORDASH ENGINEERING, https://doordash.engineering/ (last visited May 3, 2023).


                                                    38
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projects that power our velocity, reliability, and innovation.” 42 DoorDash even advises merchant

restaurants how to perform “menu engineering” with respect to their prices. 43 Upon information

and belief, DoorDash routinely advises restaurants and merchants to increase their prices for

menu items available for delivery.

           70.   The heart of DoorDash’s engineering rests on proprietary algorithms. “At

DoorDash, route optimization is a key component of our dispatch system, known internally as

DeepRed. The routing algorithm design we chose—based on the ruin-and-recreate principle—

helped us to scale to meet the increased demand . . . .” 44 DoorDash says,

             Route optimization is a computationally intensive process . . . . Solving this
             problem for last-mile logistics introduces additional complexity because a
             multitude of orders must be delivered same-day under a range of
             constraints, including varying delivery windows, vehicle capacity, speed,
             and Dasher, our name for delivery drivers, availability. 45

“Fortunately, DoorDash’s team was able to quickly replace its manual, ops-driven solution with

a more automated one that could handle th[e] increased demand.” 46 In other words, DoorDash’s

system is subject to its manipulation given the varying inputs underlying the algorithms.

           71.   Hidden in the frequently asked questions section of its website, DoorDash

discloses “[t]here is not a standard delivery radius for merchants on DoorDash. The delivery

radius is set by an algorithm based on how many Dashers are in your area and consumer



42
  Ex. 37, Engineering Blog, DOORDASH ENGINEERING, https://doordash.engineering/blog/ (last
visited May 3, 2023).
43
 Ex. 38, Sara DeForest, How to Improve Your Restaurant Profit Margin, DOORDASH FOR
MERCHANTS (Feb. 23, 2023), https://get.doordash.com/en-us/blog/restaurant-profit-margin.
44
  Ex. 39, Ben Katz, Scaling a routing algorithm using multithreading and ruin-and-recreate,
DOORDASH ENGINEERING (Nov. 30, 2021), https://doordash.engineering/2021/11/30/scaling-a-
routing-algorithm-using-multithreading-and-ruin-and-recreate/.
45
     Id.
46
     Id.


                                                   39
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demand. Plus and Premium members do get access to a larger delivery area than Basic,

potentially reaching more customers.” 47 In other words, DoorDash manipulates service areas

based on algorithmic data.

          72.    Despite its optimization efforts, DoorDash’s “real-time delivery logistics system,

the environment, behavior of Dashers ([its] term for delivery drivers), and consumer demand

are highly volatile. Because small changes to the decision-making process of matching deliveries

to Dashers can cause a cascade of different assignment decisions, it is difficult to determine the

expected outcome of any algorithm iteration or product change. All of this makes it hard to

determine the impact of any change via offline sizing or analysis.” 48 In other words, DoorDash

cannot promise anything with respect to how or when a Dasher will make a delivery.

          73.    But DoorDash pays close attention to the “small changes to the decision-making

process,” especially for consumers. DoorDash closely studies consumer habits to determine the

best way to “sell” (some might say exploit) them on their habits. To this end, DoorDash conducts

consumer surveys 49 and even generates annual reports 50 providing detailed analysis insight into

consumer habits. Upon information and belief, DoorDash “engineers” its platform to optimize

sales based on consumer habits even at the sake of transparency, accuracy, or legal compliance.



47
  Ex. 40, Frequently Asked Questions, DOORDASH FOR MERCHANTS, at What is the DoorDash
delivery radius?, https://get.doordash.com/en-us/faq (last visited May 3, 2023) (emphasis added).
48
  Ex. 41, Sifeng Lin & Yixin Tang, The 4 Principles DoorDash Used to Increase Its Logistics
Experiment Capacity by 1000%, DOORDASH ENGINEERING (Sept. 21, 2021), https://doordash.
engineering/2021/09/21/the-4-principles-doordash-used-to-increase-its-logistics-experiment-
capacity-by-1000/.
49
     Ex. 42, Allison Van Duyne, 2022 Consumer Trends in the Restaurant Industry, DOORDASH
FOR MERCHANTS       (May 23, 2022), https://get.doordash.com/en-us/blog/online-ordering-habits.
50
  Ex. 43, 2022 Restaurant Online Ordering Trends, DoorDash for Merchants, DOORDASH FOR
MERCHANTS (July 21, 2022), https://get.doordash.com/en-us/resources/restaurant-online-
ordering-trends.


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                III.   THE DOORDASH “TERMS AND CONDITIONS”

       74.     DoorDash’s Terms and Conditions, dated April 28, 2023, are 27 standard pages of

complex legalese. Since 2019, DoorDash has had more than a dozen different versions of its

Terms and Conditions with each having numerous pages of complex legal concepts. For a

multitude of factual and legal reasons, the Terms and Conditions are unenforceable. Even a

cursory review of the current Terms and Conditions demonstrates their oppressive nature.

       75.     As a threshold matter, paragraph 2 of the Terms and Conditions read,

          If you access any of our websites located at https://www.doordash.com/ . . .
          install or use the DoorDash or Caviar mobile application, install or use any
          other technology supplied by DoorDash (collectively, the “Technology”), or
          access or use any information, function, feature, or service made available
          or enabled by DoorDash (collectively, the “Services,” which includes the
          Technology), click or tap a button or take similar action to signify your
          affirmative acceptance of this Agreement, or complete the DoorDash
          account registration process, you, your heirs, assigns, and successors
          (collectively, “you” or “your”) hereby represent and warrant that: (a) you
          have read, understand, and agree to be bound by this Agreement and any
          future amendments and additions to this Agreement as published from time
          to time at https://www.doordash.com/terms/ or through the Technology. . . 51

In other words, DoorDash only informs consumers in the Terms and Conditions that they should

read them and that completing the registration process purportedly binds consumers to a contract

of adhesion that waives and limits important rights. Upon information and belief, because it

believes consumers have agreed to future amendments of the Terms and Conditions, DoorDash

does not inform consumers when they change or amended them. Thus, under DoorDash’s

purported contract, consumers’ initial registration on the platform represents their assent to any

contract terms DoorDash chooses without any further notice to or agreement from the consumer.




51
  See Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico),
DOORDASH ¶ 2 (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US (emphasis added).


                                                41
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          76.       Paragraph 6 of the Terms and Conditions assert strategic acknowledgments, like:

                You acknowledge and agree that DoorDash is not a merchant, retailer,
                restaurant, grocer, pharmacy, chemist, delivery service, or food preparation
                business, and has no responsibility or liability for the acts or omissions of
                any Merchant or any Contractor. Merchants are the retailers of the products
                or services offered through the Services. DoorDash is not in the delivery
                business, does not provide delivery services, and is not a common carrier.
                DoorDash provides the Services to facilitate the transmission of orders by
                Users to Merchants, including orders for pickup or delivery by Contractors
                and/or Merchants. 52

          77.       The Terms and Conditions provide quasi-indemnification language in paragraph

7, stating, in relevant part, that:

                You are the sole authorized User of any account you create through the
                Services. You are solely and fully responsible for all activities that occur
                under your password or account. You agree that you shall monitor your
                account to prevent use by minors, and you will accept full responsibility for
                any unauthorized use of your password or your account. 53

Specific indemnification language is included in paragraph 18 of the Terms and Conditions in

which DoorDash seeks consumers to indemnify DoorDash for all claims and expenses. These

sections purport to hold the consumer liable for any damage caused by their use of DoorDash.

          78.       In paragraph 12 of the Terms and Conditions, DoorDash mentions part of its false

pricing scheme, including:

          (a) Prices & Charges. You understand that: (i) the prices for menu or other items
          displayed through the Services may differ from the prices offered or published by
          Merchants for the same menu or other items and/or from prices available at third-
          party websites and that such prices may not be the lowest prices at which the
          menu or other items are sold and may change at any time without notice; (ii)
          DoorDash has no obligation to itemize its costs, profits, or margins when
          publishing such prices; and (iii) pricing may change at any time, in the discretion
          of DoorDash or the Merchant (depending on which party sets the given price). . . .

          (b) Strikethrough Pricing (United States Orders). This Section 12(b) applies to United
          States Orders. DoorDash may use strikethrough pricing for certain items (for example,

52
     Id. ¶ 6(a).
53
     Id. ¶ 7.


                                                     42
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       when presenting a discount or promotional price for items). DoorDash does not represent
       that the strikethrough price was the regular or former price of items for any particular
       period of time and the time period may vary widely depending on the items. DoorDash
       may also rely on Merchants or a third party to provide information about the regular or
       former price of items offered by those Merchants or a third party, and DoorDash’s
       strikethrough price therefore may represent the price that DoorDash, a Merchant, or a
       third party offered the item for sale for some period of time. The strikethrough price may
       also be an introductory price that was offered for a short period of time. Unless otherwise
       specified, the strike-through price represents a non-member discount to the extent the
       Merchant has a membership program. . . .

These paragraphs are deceptive because, by adding the language “the time period may vary

widely,” DoorDash misleads consumers into believing pricing is a function of the point in time

that a price is offered rather than being a function of DoorDash’s engineered pricing model.

Here, DoorDash concedes it may “set the given price” on its platform. But neither of these

paragraphs nor any other provision in the Terms and Conditions disclose DoorDash will charge

consumers different prices for the same items or service without any true standard or base price;

that DoorDash will charge consumers more than an advertised strikethrough price and/or fee;

and that DoorDash will use strikethrough pricing when misrepresenting DashPass savings. Nor

do these paragraphs, or any other provision in the Terms and Conditions, disclose that DoorDash

uses deceptive partition pricing, drip pricing, price discrimination, and dark patterns as part of its

bait-and-switch advertising scheme.

       79.     Also, in paragraph 12 of the Terms and Conditions, DoorDash states,

       (e) Fees for Services. DoorDash may change the fees that DoorDash charges you as we
       deem necessary or appropriate for our business, including but not limited to Delivery
       Fees, Service Fees, Small Order Fees, Expanded Range Fees, Regulatory Response Fees,
       and Surge Fees. DoorDash may offer different pricing to customers based on a variety of
       factors, including but not limited to geographic areas or usage. DoorDash may also
       charge you additional fees as required by law. Further, DoorDash may charge Merchants
       fees on orders that you place through the Services, including commissions and other fees,
       and may change those Merchant fees as we deem necessary or appropriate for our




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           business or to comply with applicable law. DoorDash may charge you a Service Fee for
           the convenience of ordering through the DoorDash Platform. 54

Neither this paragraph nor any other paragraph in the Terms and Conditions discloses

DoorDash’s false advertising scheme relating to fees and food costs, including but not limited to

DoorDash’s decision to charge delivery fees unrelated to delivery, distance, or time and based on

undisclosed “other factors” that consumers never know; that DoorDash misleads consumers into

believing they are charged delivery fees and other fees (besides taxes) “as required by law”; and

that DoorDash charges consumers for hidden marketing fees and commissions, misleading

consumers into believing that merchants pay these costs.

           80.      In paragraph 13 of the Terms and Conditions, DoorDash addresses its DashPass

scheme, noting “DashPass Benefits include reduced fees for United States Orders” only while

DashPass is “$0 delivery fees for Australia Orders and New Zealand Orders.” 55 The Terms and

Conditions also note that “Service Fees and other fees may apply. [DoorDash] reserve[s] the

right to add and modify fees that may apply to your DashPass orders.” 56 Finally, the Terms and

Conditions note,

           AT THE TIME OF RENEWAL, DOORDASH WILL AUTOMATICALLY
           CHARGE THE THEN-CURRENT DASHPASS FEE AND ANY APPLICABLE
           TAXES TO AN ELIGIBLE PAYMENT METHOD THAT WE HAVE ON FILE
           FOR YOU. If your payment details change, your card provider may provide us
           with updated payment details. We may use these new details or details from other
           payment methods on file in order to help prevent any interruption to your
           DashPass subscription. This includes our right to charge any payment method on
           file if your initial form of preferred payment fails. 57




54
     Id. ¶ 12(e).
55
     Id. ¶ 13(a).
56
     Id.
57
     Id.


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In other words, DoorDash suggests that it can charge U.S. consumers whatever fees it would like

under the DashPass and that DoorDash will continue to charge consumers for DashPass on any

payment method available until and unless the consumer cancels the DashPass subscription.

Indeed, after Plaintiff Hecox terminated his debit card, DoorDash unilaterally changed his

payment methodology to continue charging him for DashPass.

          81.       Paragraph 14 of the Terms and Conditions (which has twelve subparts) is a forum

selection provision that purports to require that all claims arising out of the Terms and

Conditions be subject to arbitration; that purports to waive a jury trial; that purports to ban public

injunctive relief; and that purports to ban class action lawsuits.

          82.       The Terms and Conditions also incorporate an attempted limitation of liability,

that purportedly caps DoorDash’s liability at “the greater of amounts actually paid by and/or due

from you to DoorDash in the six (6) month period immediately preceding the event giving rise to

such claim” and to exclude “any indirect, punitive, special, exemplary, incidental, consequential

or other damages of any type or kind . . . .”). 58

          83.       Since 2019, DoorDash’s Terms and Conditions have been a contract of adhesion.

The Terms and Conditions are a form or standardized contract that is prepared and offered by

DoorDash for its benefit. DoorDash created its Terms and Conditions with disproportionate

bargaining power over consumers, like Plaintiffs, who could not, cannot, and did not negotiate

any terms, let alone understand them. Rather, DoorDash presents its Terms and Conditions on a

take-it-or-leave-it basis. Under this approach, consumers only obtain DoorDash’s services by

acquiescing to the purported form contract.




58
     Id. ¶ 21(a).


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        84.     Moreover, regardless of when they were in use, DoorDash’s Terms and

 Conditions are unreadable for most consumers. The terms rely on technical legal jargon that lay

 consumers cannot comprehend. The Terms and Conditions score poorly under the Flesch

 Reading Ease and Flesch-Kincaid Grade Level testing standards. For example, the language in

 paragraph 2 of the most recent Terms and Conditions, using a Flesch Kincaid Calculator of

 Readability, is rated “college” level. The Flesch Kincaid Readability Calculator rates paragraph 6

 of the Terms and Conditions as “college graduate – very difficult to read.” DoorDash knows or

 should know that an overwhelming majority of consumers who read the Terms and Conditions

 cannot comprehend their significance.

        85.     Consumers, like Plaintiffs, do not assent to DoorDash’s Terms and Conditions by

 continuing to use the platform. And DoorDash’s Terms and Conditions are procedurally and

 substantively unconscionable.

IV.    DOORDASH’S SIGN UP LANGUAGE LACKS SUFFICIENT INQUIRY NOTICE

        86.     At all relevant times, DoorDash’s registration process preys on consumers’

 natural urge for instant gratification. 59 In doing so, the DoorDash Platform fails to provide actual

 or constructive notice that consumers enter a binding legal contract under the DoorDash Terms

 and Conditions (which includes an arbitration agreement) when they create a DoorDash account.

 Since 2019, DoorDash has used a wrap agreement that provides inadequate notice about the

 ramifications of registering to use DoorDash. In various iterations, DoorDash has provided a

 notice that merely states by tapping or by clicking “Sign Up” or by tapping or clicking “Continue

 with Google, Facebook, or Apple,” the user “agrees to DoorDash’s Terms and Conditions and


 59
   Ex. 44, Courtney E. Ackerman, What is Instant Gratification? (Definition & Examples),
 POSITIVEPSYCHOLOGY.COM (June 19, 2018), https://positivepsychology.com/instant-
 gratification/.


                                                  46
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Privacy Policy.” All variations of this notice fail to create a contract with consumers for a

multitude of reasons.

       87.     As a threshold matter, the notice appears in a cluttered environment regardless of

when the notice is presented in the registration process. In some places surrounding the notice,

DoorDash includes items in your cart (like in paragraph 51), and food graphics and large grey

boxes seeking registration information with writing in the boxes (as reflected below). In all

places, there are large, colorful tabs with more instructions on what a consumer should do, like

“continue with email” or “sign up” or continue with Google, Facebook, or Apple or as a guest.

On other pages, DoorDash includes advertisement banners offering significant discounts on

“signing up,” like 40% off on a consumer’s first order. To this extent, DoorDash uses the

registration process as an opportunity to market, sell, and rush consumers into registering rather

than allowing them to develop an opportunity to discover terms and then knowingly,

intelligently, and affirmatively assent to them. See illustrations below.




                                                 47
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       88.     DoorDash adds visual clutter when consumers, like Plaintiffs, create an account to

distract them from focusing on the small notice language that is either buried at the bottom of the

registration screen or sandwiched between competing text in the middle of the screen. DoorDash

then diverts consumers’ attention to a large red “sign up” tab because, as an industry expert

notes, “[f]or the food delivery business, red color is probably the best choice, as it prompts users

to do the desired impulsive action – tapping the “Get” button. White captions are easy-to-read as

they are big contrast with the red color background.” 60 As the illustrations in paragraph 87

demonstrate, DoorDash employs this manipulative approach, using a large red “sign-up” tab with

white colored letters. Consequently, consumers take the impulsive action of registering without

seeing any notice, which makes the prominence and content of the notice much more important.

       89.      Beyond being placed in a cluttered environment designed to make consumers act

impulsively, the notice is inconspicuous. The notice is not prominent in color or size relative to

other text and prompts on the screen, making it naturally more difficult to see easily and more

likely to overlook. And the location of the notice language renders it inconspicuous. Upon

information and belief, since 2019, DoorDash has located its notice language at various places,

including the bottom of its registration page away from and/or beneath the red sign-up button, as

reflected in the illustration in paragraph 41. That language remains in that same place today for

consumers initially registering with Google, Apple, or Facebook as reflected on the illustrations

in paragraphs 54 through 57. Consumers likely never even see that notice because their attention

is drawn to, and they impulsively act on, the large colorful registration tabs before arriving at the

small, inconspicuously located language at the bottom of the screen.


60
  Ex. 45, Anastasia Sidoryk, App Overview: DoorDash on the App Store & Google Play Store,
APP GROWTH BLOG (June 2, 2020), https://splitmetrics.com/blog/app-overview-doordash/
(emphasis added).


                                                 48
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       90.     DoorDash’s registration notice is also poorly worded. As a threshold matter, the

notice fails to create a definitive offer by informing consumers that DoorDash is providing its

technology only if consumers agree to be bound contractually. And DoorDash does not provide

clear instructions on a consumer’s acceptance by explaining the act of “registering” to create an

account will “bind” them to oppressive Terms and Conditions. Hardly unambiguous, consumers

face three implications when seeing DoorDash’s sign up notice. First, the notice implies that

DoorDash is making them a contractual offer to use its technology. Second, clicking the “sign

up” tab means they are registering to create an account. Third and finally, clicking the sign up

tab serves as acceptance and consideration to be bound by a contract. These compound

implications do not allow consumers to achieve a meeting of the minds or waive fundamental

rights knowingly and intelligently. Nor does the notice advise consumers to read DoorDash’s

oppressive Terms and Conditions, as part of ensuring that their registration allows them to

manifest assent to contract and waive a right to jury knowingly and intelligently.

       91.     Moreover, DoorDash has consistently included a visible line with the word “or”

that separates the various registration methodologies. This separation line casts confusion over

the entire sign-up structure for consumers, particularly whether the notice applies to all

registration methods or the ones above or below the line with the notice. Exacerbating this issue,

as reflected in the left illustration on the following page with the cut-off “Continue with Apple”

tab, the registration process does not always fit on one screen. See illustrations of sample

registration pages on the following page.




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       92.     Of course, DoorDash has known its registration language was deficient because it

changed the language recently. Upon information and belief, DoorDash changed the language in

or around April 2023. When toggling to sign up, the language now reads, “[b]y registering, you

confirm you have read and agree to the Terms and Conditions and Privacy Policy.” But even

with this change, the new notice remains deficient for reasons that include, but are not limited to:

(1) its size and color disparity lacks prominence; (2) it is not located conspicuously relative to

each of the sign up methods; (3) it does not have a button that reads “register” leaving consumers

to interpret whether sign-up and “registering” are the same; (4) it does not mention the impact of

“registering” on Google, Facebook, or Apple; (5) it still has the dividing line with the word “or”

separating registration methods; and (6) it does not inform consumers they will be “bound” by

the Terms and Conditions (which creates a legal obligation), and waives a right to jury.

Illustrations on the following page reflect the change in the notice language.




                                                 50
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                 Notice on Mar. 31, 2023                Notice on Apr. 19, 2023

       93.     Other evidence indicates the company knows its consumer wrap agreement is

deficient. With its contract for drivers and its merchants, DoorDash insists on using a clickwrap

agreement to manifest assent to contract because their enforceability is more definitive. With

respect to its contracted drivers, Victor Shao, Director, New Verticals for DoorDash, provided

sworn testimony in April 2022 in a class action, stating:

       Although the sign up process has varied slightly over time, the following description
       represents the process. Prospective Dashers undergo a multi-step process in signing up
       for a Dasher account. On the first sign up screen, prospective Dashers must enter their
       email address, or, depending on when the Dasher signed up, their email address, phone
       number and zip code. The first sign up screen notifies the Dasher that they must check a
       box and/or press a button to continue with the sign up process, and it also states that by
       doing so: “I agree to the Independent Contractor Agreement and have read the Dasher
       Privacy Policy.” 61
       ...
       Before creating accounts and agreeing to the [Independent Contractor
       Agreement], Plaintiffs could click on the hyperlink and scroll through the ICA at

61
  Ex. 46, Decl. of Victor Shao in Support of Def.’s Mot. to Compel Arb., Strike Class
Allegations, and Stay Proceedings at ¶ 5, Mullo v. DoorDash, Inc., No. 1:22-CV-02430
(S.D.N.Y. Apr. 8, 2022), ECF No. 12 (emphasis in original).


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           their leisure, on their own terms, and to seek the input of an attorney or trusted
           advisor if they so choose. They could have also chosen to refrain from creating an
           account. If they elected to proceed, however, they had to first indicate their
           acceptance of the ICA. Plaintiff Flores had to manifest his consent to the ICA by
           checking a box and clicking “Sign Up” on the sign up screen . . . . 62

           94.    For its merchant relationships, Kathy Zhu, DoorDash’s former Senior Director

and Associate General Counsel Commercial and Legal Operations, was tasked with commercial

contracting. In a client testimonial found at Ironclad.com, 63 Ms. Zhu said, DoorDash “knew we

wanted a clickwrap contract” for DoorDash’s merchant relationship “to be a lot more precise.” 64

She equivocated on DoorDash’s consumer contracts stating, “in the B-to-C [business to

consumer] world, it’s usually ok legally speaking to deal with all of your customers more or less

in the same way.” 65 “Usually ok legally speaking . . . more or less” is hardly a ringing

endorsement from DoorDash’s then “contract counsel” about the enforceability of its wrap

agreement for consumers. But her equivocation on enforceability is indeed appropriate.

           95.    DoorDash’s approach to minimizing the registration process is intentional. As

Zhu noted in a separate interview, DoorDash’s priority is “speed” and “efficiency.” 66 She did not

mention legal compliance. Rather than prioritize complying with the law, DoorDash created a




62
     Id. ¶ 11 (emphasis in original).
63
  Ironclad is “a Contract Lifecyle Management (CLM) platform that helps business and legal
teams manage every aspect of the contracting process.” Ex. 47, IRONCLAD, https://ironcladapp.
com/about-us/ (last visited May 3, 2023).
64
  How DoorDash Creates Self-Service Restaurant Partnership Contracts Using Clickwrap,
IRONCLAD (1:26-1:58), https://ironcladapp.com/customers/doordash/ (last visited May 3, 2023).
65
     Id.
66
  Lawtrades, #6 - DoorDash Head of Commercial Kathy Zhu on Staying Nimble Despite
Bandwidth Constraints, YOUTUBE (11:51) (Dec. 17, 2020), https://www.youtube.com/
watch?v=ZWXbc6HCBwg.


                                                   52
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“contracts playbook” with talking points and even “fallback positions” about the enforceability

of their agreements. 67 That same approach is deployed here.

           96.   DoorDash achieves speed and efficiency in its consumer registration process by

skipping necessary steps to ensure users receive a definitive offer, a clear mode of acceptance,

supported by sufficient consideration, and a mutual meeting of the minds. DoorDash skipped

these steps to divert consumers’ attention from the oppressive Terms and Conditions, which

could hinder the registration process if a consumer saw, read, and/or understood the complex

legal language. Instead, DoorDash engineered a registration process that allows consumers to

access and use its platform quickly in the name of speed and efficiency and at the sake of mutual

assent.

           97.   While DoorDash’s registration process has evolved over the years with different

notices, located in different places, with different distractions (like advertisements, graphics, and

pending orders in carts), the process is and always has been deficient. The registration process

does not create an environment in which consumers, like Plaintiffs, see a conspicuous notice, and

receive an unambiguous and definitive offer to contract that allows them to assent to the terms

and waive fundamental rights, like a right to a jury, knowingly and intelligently.

V.         DOORDASH TARGETS MINORS AND KNOWS MINORS FREQUENTLY USE
                             DOORDASH’S SERVICE

           98.   In its Terms and Conditions, DoorDash says that any consumer who uses its

technology “represent[s] and warrant[s]” that the user is “of legal age in the jurisdiction in which

you reside to form a binding contract with DoorDash.” 68 DoorDash’s unconscionable terms


67
     Id.
68
  Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH
¶ 2 (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.


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purport to hold parents responsible for minors who use parents’ account. 69 DoorDash does

nothing to prevent minors from accessing its technology. DoorDash has the technology to verify

consumers’ ages—it verifies age for alcohol purchases. But DoorDash does not use that

technology when consumers sign up to use its platform, despite knowing that a significant

percentage of its 32 million users are minor children. Millions of minors have registered and

used DoorDash. See illustration below of DoorDash’s alcohol policy.




          99.   In the Apple Store, DoorDash allowed its app to be rated for ages twelve and up.

See illustration below.




69
     Id. ¶ 7.


                                                54
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       100.    In the Google store, there is no age limit for the app. DoorDash allowed its app to

be rated E for everyone. See illustration below.




       101.    DoorDash does not require any age verification to register to use its platform,

despite having and using age verification technology for some orders on the platform. Nor does

DoorDash offer any parental controls on its platform. Nor does DoorDash require a credit card

for transactions, which would limit minors from ordering. Instead, DoorDash allows debit cards,

preloaded debit cards (like Greenlight cards), and even gift cards, all of which are payment

methods minors use frequently. None of these facts surprise DoorDash. Indeed, during a podcast,

Jonathan Levin, Dean of the Stanford Graduate School of Business, told Tony Xu, a DoorDash

co-founder and its Chief Executive Officer, that Levin’s 13-year-old son wanted to trade his

Nike and Amazon birthday gift cards for DoorDash gift cards. 70 And DoorDash knows that if a

parent has ever lent their credit card to their child for a single online purchase, the credit card

information is saved to the minor’s mobile/online pay account, making it accessible for a minor

who establishes their own DoorDash account with basic information and a cellular telephone

and/or an email address.



70
  Stanford Graduate School of Business, Tony Xu, MBA ’13, Cofounder and CEO, DoorDash,
YOUTUBE (starting at 30 second mark) (Feb. 12, 2021), https://www.youtube.com/watch?v=
5TidMV_ux_4.


                                                   55
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       102.    DoorDash also advertises to minors, including a Sesame Street-themed television

ad campaign that aired during the 2021 Super Bowl. See illustration below. 71




DoorDash reportedly paid $5.5 million for its Sesame Street commercial, while committing to

contribute no more than $1 million to Sesame Workshop. It cannot be argued seriously,

therefore, that a Sesame Street-themed advertising campaign served a charitable purpose. The

campaign was designed to attract children.

       103.    In its Privacy Policy, moreover, DoorDash tacitly admits children under 18 use its

delivery app. DoorDash says, “[o]ur Services are not intended for children under 16 years of age,

and we do not knowingly collect personal information from children under the age of 16.” 72 At a

minimum, the statement implies that DoorDash’s services are intended for 16 and 17 year olds,

none of whom have reached the age of majority or possess the capacity to contract.

       104.    DoorDash cannot credibly contend that it does not know minor children use its

service. Kids have cellular phones, which are necessary to use DoorDash. According to a


71
 Funny Commercials, DoorDash Super Bowl Commercial 2021 Daveed Diggs Sesame Street,
YOUTUBE (Feb. 7, 2021), https://youtu.be/RWViEadCvuM.
72
  Ex. 48, Privacy Policy – United States, DoorDash – General Privacy Policy, DOORDASH ¶
7(a) (Jan. 3, 2023), https://help.doordash.com/legal/document?type=cx-privacy-
policy&region=US&locale=en-US.


                                               56
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Stanford Medicine study, “nearly all children had phones by age 15 years.” 73 And it is well

known that DoorDash deliveries (and those of other web-based services) are disrupting schools

across the country—particularly high schools—raising security concerns and creating

administrative nightmares. Dashers even talk about these problem deliveries in chat rooms. 74

One article compared DoorDash’s penetration into schools to the cult-classic movie, Fast Times

at Ridgemont High. 75 But this is no laughing matter. Many school districts have had to address

DoorDash deliveries with some banning the delivers and a few allowing them, including school

districts in New Jersey, Massachusetts, Kansas, California, and Maryland. 76 Despite having


73
   Ex. 49, Erin Digitale, Age that kids acquire mobile phones not linked to well-being, says
Stanford Medicine Study, STANFORD MEDICINE NEWS CENTER (Nov. 21, 2022), https://med.
stanford.edu/news/all-news/2022/11/children-mobile-phone-age.html.
74
   Ex. 50, Why are (some) schools telling students that they cannot order food deliveries through
DoorDash, GrubHub or UberEats, to be delivered to their schools?, QUORA (June 6, 2019),
https://www.quora.com/Why-are-some-schools-telling-students-that-they-cannot-order-food-
deliveries-through-DoorDash-GrubHub-or-UberEats-to-be-delivered-to-their-schools.
75
   Ex. 51, Mustafa Gatollari, High School Students DoorDash Lunch to School, Get Sent to
Admin’s Office in Viral TikTok, DISTRACTIFY (Jan. 30, 2023, 12:06 PM EST),
https://www.distractify.com/p/students-doordash-food-to-school.
76
   Ex. 52, Beccah Hendrickson, South Jersey students ordering food to high school causing
security issues, district says, 6ABC (Feb. 1, 2022), https://6abc.com/west-deptford-school-
district-food-delivery-safety-doordash-uber-eats/11530002/; Ex. 53, Brittany Polito, Pittsfield
School Policy Panel Considers Student DoorDash Ban, IBERKSHIRES.COM (Mar. 3, 2023, 12:29
PM), https://www.iberkshires.com/story/71088/Pittsfield-School-Policy-Panel-Considers-
Student-DoorDash-Ban.html; Ex. 54, Katie Kausch, Students can get DoorDash deliveries. Just
follow the security rules, N.J. school says., NJ.COM (Feb. 16, 2023, 1:11 AM),
https://www.nj.com/gloucester-county/2022/02/students-can-get-doordash-deliveries-just-
follow-the-security-rules-nj-school-says.html; Ex. 55, Audrey Menzies, Principal, students
contemplate Doordash deliveries to the school, KC PIPER NEWS (Sept. 9, 2019),
https://www.kcpipernews.com/18459/feature/principal-and-students-contemplate-doordash-
deliveries-to-the-school/; Ex. 56, Jonathan Sarabia, Parents debate over the safety of delivering
food to students in school, KION NEWS CHANNEL 5/46 (Nov. 30, 2021, 11:52 AM),
https://kion546.com/news/monterey-county/2021/11/30/parents-debate-over-the-safety-of-
delivering-food-to-students-in-school/; Ex. 57, Elaine S. Povich, Students, bored by cafeteria
fare, love food delivery services; schools don’t., WASH. POST (June 9, 2019, 8:30 AM),
https://www.washingtonpost.com/health/students-bored-by-cafeteria-fare-love-food-delivery-
services-schools-dont/2019/06/07/2568d12c-8617-11e9-98c1-e945ae5db8fb_story.html.


                                                57
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technology to handle almost two billion orders every year (including orders for alcohol),

DoorDash does absolutely nothing to verify the age of its users when they register. It cannot

seriously be disputed that DoorDash intends for minors to use its platform.

     VI.      DOORDASH’S FRAUDULENT AND DECEPTIVE PRICING SCHEME

           105.   Plaintiffs, and similarly situated consumers, are victims of DoorDash’s deceptive,

misleading, and fraudulent pricing scheme. DoorDash’s fraud is far reaching, implicating almost

every fee, price, or cost that DoorDash advertises and collects from consumers, like Plaintiffs.

     A.       DoorDash Charges a Deceptive and Misleading Delivery Fee

           106.   DoorDash asserts that it “is not in the delivery business, does not provide delivery

services, and is not a common carrier.” 77 While disavowing it performs or provides deliveries,

DoorDash nonetheless charges a “Delivery Fee” on most orders. DoorDash’s explanations of the

delivery fees are inconsistent and depend on where they are placed. The information icon

accompanying the Delivery Fee merely states, “Delivery fee varies for each restaurant based on

your location and other factors.” In its webpage under customer support, DoorDash says the

Delivery Fee “is charged on delivery orders and helps DoorDash cover costs associated with

getting your order directly to you and can vary depending on the merchant location, and other

factors, such as demand. Delivery fees currently can vary starting at $0.” 78 None of these

statements tell the consumer that DoorDash keeps the Delivery Fee in total, and that the fee is

simply a revenue source unrelated to delivery of the consumer’s specific order. See illustrations

on the following page highlighting aspects of the Delivery Fee.


77
  Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH
¶ 6(a) (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.
78
  Ex. 58, DoorDash Customer Support, What fees do I pay?, DOORDASH, https://help.doordash.
com/consumers/s/article/What-fees-do-I-pay?language=en_US (last visited May 3, 2023).


                                                   58
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        107.   As the illustration in paragraph 106 demonstrates, DoorDash’s explanations of the

Delivery Fee emphasize the location of consumers and restaurants and claim the fee “helps cover

the cost associated with getting your order directly to you.” Emphasizing the distance of the trip

and “getting the order” to the consumer creates the logical impression that the Delivery Fee is

related to “deliveries.” Thus, DoorDash creates the impression that hardworking Dashers who

perform “deliveries” will receive the “Delivery” Fee. But that logical impression is not true.

DoorDash keeps all delivery fees, and the fees are related to the cost of DoorDash providing its

technology.

   B.      DoorDash Charges a Deceptive and Misleading Express or Priority Delivery Fee

        108.   “Express” delivery on DoorDash purportedly represents a speedy-delivery option

that costs consumers, like Plaintiffs, $2.99 for orders to be delivered directly to them. Unlike

with its other fees, DoorDash provides no written description of what “Express” delivery or

“direct to you” means. This lack of explanation is intentional insomuch as DoorDash knows it

cannot make an affirmative representation on delivery times given the vagaries of the delivery



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process. So, DoorDash does the next best thing, it creates the misimpression that ordering

“Express” means consumers will receive their orders faster. To that end, DoorDash advertises

“Express” delivery as having shorter delivery time windows—always setting that time frame as

five to ten minutes shorter than a standard time window—and it includes the phrase “direct to

you” under the charge. Then DoorDash reclassifies the “Express” delivery as a “priority fee”

when itemizing its charges during checkout. Upon information and belief, DoorDash switches its

nomenclature for the fee at this juncture so that it can preserve certain arguments, like the

“express” fee is not about speed but rather a consumer’s position in DoorDash’s engineered

delivery system. Unsuspecting consumers are duped by this practice. One Dasher in a chatroom

reacted to the express fee saying, “Holy crap DD is shady AF.” See illustration below

representing a compilation of screenshots from DoorDash’s App, its contractor agreement, and

chatroom discussions addressing the “Express Delivery Fee.”




       109.    As the illustration in paragraph 108 reflects, there is only one reasonable

interpretation of the Express Delivery Fee: if a consumer pays the fee, DoorDash will ensure that

consumer will get their food quicker. Despite that being the only justifiable interpretation, it is



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false because DoorDash has no ability to provide express or faster service it sells. According to

DoorDash, the company neither provides deliveries nor controls the manner or means in which

deliveries occur (as DoorDash has represented in its independent contractor agreement with its

drivers and in defense of litigation against them). Upon information and belief, DoorDash does

not even tell its drivers when a consumer places an Express Delivery order or otherwise informs

them that the order is a priority. Nothing prevents a Dasher from stacking an Express order with

other orders for DoorDash or any other delivery company—taking more time rather than less,

and certainly not delivering “direct to you.” And the five-to-ten-minutes-shorter time windows

DoorDash advertises for its express service are demonstrably false. Once an order is placed,

within seconds or sooner, DoorDash reveals the previously concealed true delivery time window

from its dispatch system. The real delivery window is typically longer than the advertised

“Express” window and even the advertised standard delivery window. DoorDash has information

that could inform consumers that the order will not be any more “express” than a standard order,

but DoorDash conceals that information until after the order has been placed. Upon information

and belief, as part of its fraud, DoorDash sets its advertised delivery windows for all orders to

appear shorter than true market conditions to avoid losing sales. Consumers literally pay for

nothing when selecting the option for Express Delivery. Because DoorDash cannot provide what

consumers purchased, it is not relevant whether DoorDash in fact provided an express delivery

that was consistent with or better than the advertised express delivery window (on any

individual, isolated basis).




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     C.      DoorDash Charges a Deceptive and Misleading “Expanded Range” Delivery Fee

          110.   DoorDash charges consumers, like Plaintiffs, a fee to make “expanded range

deliveries.” DoorDash defines “expanded range delivery” to consumers as occurring when the

“restaurant is outside of your normal delivery area.” See illustration below.




          111.   Contrary to DoorDash’s representations in the above disclosure, consumers do not

have a “normal delivery” area. Unlike its representation to consumers, DoorDash tells merchants

and contractors something far different about delivery areas. In various hard-to-find places on its

website, DoorDash says, “[e]ach store on DoorDash has a circular delivery area extending out

from their store. Any consumer within that delivery area will be able to see and order from that

store. DoorDash defines the delivery area for each individual store based on their partnership

structure on DoorDash.” 79 See illustration on the following page.




79
 See, e.g., Ex. 40, Frequently Asked Questions, DOORDASH FOR MERCHANTS, at What is the
DoorDash delivery radius?, https://get.doordash.com/en-us/faq (last visited May 3, 2023);
DoorDash Dasher Support, What is a “Delivery Radius” or a “Delivery Area” on DoorDash?,
DOORDASH, https://help.doordash.com/dashers/s/article/What-is-a-Delivery-Radius-or-a-
Delivery-Area-on-DoorDash?language=en_US (last visited Apr. 14, 2023).


                                                62
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       112.    As the above illustration reflects, DoorDash defined its delivery areas based on its

merchant’s partnership, not any consumer’s location as DoorDash represented to consumers. In

other words, a “delivery area” or “delivery radius” is a function of how much money a restaurant

pays DoorDash. But DoorDash qualifies this position some in other places on its website, stating

“[t]here is not a standard delivery radius for merchants on DoorDash. The delivery radius is set

by an algorithm based on how many Dashers are in your area and consumer demand. Plus and

Premium members do get access to a larger delivery area than Basic, potentially reaching more

customers.” 80 In other words, DoorDash manipulates delivery areas based on its Dashers

locations, consumer demand and merchants’ partnership with DoorDash. Again, this definition

of delivery area contradicts DoorDash’s representation to consumers when explaining the

Extended Range Delivery fee as based on consumer location. But this definition makes clear

delivery areas arise from merchant payments to DoorDash. For example, one chain restaurant,


80
  Ex. 40, Frequently Asked Questions, DOORDASH FOR MERCHANTS, at What is the DoorDash
delivery radius?, https://get.doordash.com/en-us/faq (last visited May 3, 2023) (emphasis added).


                                                63
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like a Chick-fil-a, might be located closer to a consumer’s home, but DoorDash could assign

deliveries to that home to a different Chick-fil-a further away if that restaurant pays DoorDash

more money under its partnership structure for a larger delivery area. DoorDash then may charge

consumers more for delivery fees and/or for expanded range deliveries, despite closer delivery

options being available. This scenario occurs because the consumer has no normal delivery area.

Rather, DoorDash employs the Expanded Range Fee at its whim, irrespective of the “consumer’s

location” or any “normal delivery area” for the consumer. See illustration below of how the

Expanded Range Delivery Fee works.




       113.    If the Expanded Range Fee is premised on a set geographic delivery area for a

consumer as DoorDash represents, that fee would be applied equally to consumers similarly

located. In a test on the DoorDash Platform, however, DoorDash applied the Expanded Range

Fee to a DashPass account, but not to a standard account when each account placed the same

order at the same time to the same restaurant for delivery to the same home. The illustrations on

the next page demonstrate that the Expanded Range Fee is a money grab that DoorDash employs

sua sponte.


                                                64
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                            DashPass Account            Standard Account

       114.    Upon information and belief, since Plaintiffs filed suit, DoorDash changed the

way it refers to delivery areas or delivery radius. In resource materials for Dashers describing the

delivery area, DoorDash now says, “[e]ach merchant on DoorDash has a dynamic delivery area

where customers within that range will be able to discover and order from that store. There is no

standard numeric delivery radius for merchants on DoorDash. The delivery radius a merchant

has access to is dynamic and influenced by a variety of factors, including Partnership Plans.” 81 In

other words, the delivery area is now a nebulous concept that will fluidly or dynamically change

based on a variety of undisclosed factors at DoorDash’s whim. However, this change does not




81
  See generally Ex. 59, DoorDash Dasher Support, What is a “Delivery Radius” or a “Delivery
Area” on DoorDash?, DOORDASH, https://help.doordash.com/dashers/s/article/What-is-a-
Delivery-Radius-or-a-Delivery-Area-on-DoorDash?language=en_US (last visited May 3, 2023);
Ex. 40, Frequently Asked Questions, DOORDASH FOR MERCHANTS, at What is the DoorDash
delivery radius?, https://get.doordash.com/en-us/faq (last visited May 3, 2023).


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cure DoorDash’s false representation that the Expanded Range Delivery Fee is based on a

consumer’s “normal” delivery area given no “normal” area exists. See illustration below.




   D.      DoorDash Charges Consumers Hidden Marketing Fees

        115.   DoorDash advertises menu item promotions that include hidden fees that it

charges consumers without disclosing them (“Marketing Fees”). In describing this scheme,

DoorDash explains to merchant restaurants (but not to consumers like Plaintiffs) that:

          Menu item promotions are promotions that help you attract customers by using menu
          items in a couple of different ways to attract orders. Customers will discover your
          restaurant in the Offers Hub which helps surface the most relevant offers that they are
          most likely to choose. You can also choose to target this promotion to certain
          customers only based on certain factors. . .
          Customers who qualify for the promotions will see them in the Offers Hub either
          based on the spend threshold or the items they have selected in their cart.




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             You’ll pay for the item or discount offered to the customer as well as a $0.99
             marketing fee to power our Offers Hub and marketing efforts to deliver the best
             customers that will order from you and return as well. 82
Unfortunately for consumers, the “You’ll pay” language truly references the consumer, not the

restaurant, since this undisclosed fee is included in the menu price that is only charged to and

paid by consumers. Indeed, DoorDash studies consumer habits relentlessly based on the billions

of data pieces it receives from orders, learns which items are “most relevant” and “most likely

[for consumers] to choose,” and then adds a hidden Marketing Fee. Consumers then pay for

DoorDash’s undisclosed $0.99 Marketing Fee on promotional items without ever knowing that

hidden charge was included as part of a “promotion.” DoorDash applies this fee in the same

manner and in the same amount to different promotions. See illustration below. 83




      E.      DoorDash Charges Consumers Hidden Commission Fees

           116.   Embedded in every order that consumers place on DoorDash are undisclosed

“commissions,” which are nothing more than another hidden delivery fee that consumers pay.


82
  Ex. 60, DoorDash Merchant Support, Menu Item Promotions - Merchant Promotion Overview,
DOORDASH, https://help.doordash.com/merchants/s/article/Menu-Item-Promotions-Merchant-
Promotion-Overview?language=en_US (last visited May 3, 2023) (emphasis added).
83
     Id.


                                                 67
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DoorDash explains to restaurants (but not consumers) that, “[w]hen [a restaurant] list[s] [its]

business on DoorDash, [it] pay[s] a percentage of the order subtotal — known as a “commission

rate” — for each order processed through our platform.” 84 These commissions range from 20%

to 29% on delivery orders and from 8% to 10% on pickup orders (collectively “Commission

Fee”) before Plaintiffs filed suit. See illustration below.




       117.    The commission rate allegedly covers a range of contrived delivery and other

costs, including undisclosed credit card processing surcharges at a rate of 2.9% plus $0.30 per

consumer transaction. 85 See illustration on the following page.




84
  Ex. 40, Frequently Asked Questions, DOORDASH FOR MERCHANTS, at What do commissions
and fees cover?, https://get.doordash.com/en-us/faq (last visited May 3, 2023); see also Ex. 13,
Sara DeForest, Food Delivery and Pickup Commissions and Fees, Explained, DOORDASH FOR
MERCHANTS (May 2, 2023), https://get.doordash.com/en-us/blog/food-delivery-pricing.
85
   Id. Upon information and belief, DoorDash has since changed its commission rate structure in
terms of the percentage charged at different thresholds.


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        118.   Regardless of how DoorDash spins it, consumers pay the “Hidden Commission

Fees.” DoorDash includes the commission fee in the menu item price, and charges consumers for

that fee on each order. When consumers pay that fee, DoorDash collects and retains their money

without ever informing consumers the fee was included, which includes credit card surcharges.

The disclosure of surcharge is required under 12 C.F.R. § 1026.9(d)(1). The Hidden Commission

Fee is the epitome of deception and fraud, injuring both consumers and restaurants. Because

restaurants view the Hidden Commission Fee as potential lost consumer revenues, restaurants

increase their menu prices, which cause consumers to pay more. But DoorDash obscures the fact

that menu prices on its platform for deliveries are often significantly higher than prices available

when ordering directly from the restaurant. Consumers, therefore, are truly the only party harmed

by Hidden Commission Fees, while DoorDash benefits as these fees increase prices.

   F.      DoorDash Uses False Advertising for Prices and Fees

        119.   DoorDash lures consumers, like Plaintiffs, into its predatory pricing practices with

illusory advertisements promoting discounts on food costs and fees. For example, the DoorDash

Platform deceptively offers consumers deals such as 20% off up to $5, without disclosing the


                                                 69
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consumer must meet a minimum order threshold to receive the advertised discount. When a

consumer does not meet the minimum dollar amount, DoorDash does not apply the discount and

never informs the consumer that the discount will not be applied. The consumer can only learn

about the qualifiers on DoorDash’s advertisements by searching the platform further.

       120.    The illustration below demonstrates the 20% off up to $5 advertisement scheme.

After clicking on the advertised sale for 20% off up to $5, the consumer is taken to the restaurant

page, which has a sales banner that highlights a different advertisement. This advertisement

encourages the consumer to spend even more money without ever revealing the terms of the

initial discount offer. The consumer must scroll across that banner to find the initial advertised

offer for 20% off up to $5. And only after locating that advertisement does the consumer learn

DoorDash has a $15 minimum-spend requirement for its 20% off up to $5 advertisement. See

illustration below.




       121.    DoorDash also lures consumers, like Plaintiffs, with advertised discounts on fees.

These discounts, however, are deceptive and illusory. DoorDash routinely advertises zero-dollar

delivery on the marketplace page (as reflected in the illustration on the left on the following

page), without identifying that a minimum spend is associated with the offer and that expanded

range fees may apply (as reflected in the illustration on the right on the following page).


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        122.   Under its scheme, DoorDash’s advertisements entice consumers to make their

purchases based on a misleading price—the “bait” in the bait-and-switch. The advertisement is

deceptive because DoorDash tricks consumers into placing orders without realizing they will not

qualify for the advertised discount. By using the advertisement as the bait for the transaction,

DoorDash deprives consumers of important information about the true cost of their service. This

interferes with a consumer’s ability to comparison-shop among restaurants, compare the total

cost of using one delivery service versus another, and weigh the costs and benefits of ordering

from DoorDash versus ordering directly from the restaurant.

   G.      DashPass Offers Illusory and Fraudulent Savings

        123.   The DashPass is not spared from DoorDash’s fraud and deception. DashPass is a

subscription service that DoorDash sells on either a monthly or annual basis under which

consumers are supposed to realize $0 delivery fees and other savings. For example, DoorDash

advertises on Google Ads that consumers will receive “unlimited $0 deliveries” as a DashPass

member. See illustrations on the next page.




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       124.    But like its other misleading advertisements, DoorDash’s advertised DashPass

savings is equally deceiving. Consumers, like Plaintiff Hecox, only learn after searching the

DoorDash website further that its advertised “Unlimited $0 Delivery Fee” for a DashPass




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membership has some sort of minimum spend requirement, as reflected in the following

illustration below.




           125.   Indeed, there is always a minimum-spend requirement associated with DashPass

offers, as DoorDash explains in an obscure customer support section of its website. DashPass is

“a subscription service that offers unlimited deliveries from thousands of eligible restaurants

with $0 delivery fee on orders over $12. . . . If you are a DashPass subscriber but your order does

not meet the minimum basket subtotal, your DashPass benefits will not apply.” 86 Thus, any

advertisement that does not mention the minimum spend is per se misleading.

           126.   While DoorDash publicly advertises DashPass savings on thousands of

restaurants, it does not advertise that many restaurants do not participate in the program. Again,

hidden in the customer support section of its website, DoorDash reveals “to make sure your order

is eligible, look for the green DashPass icon underneath the merchant’s name. . . .” 87 In most

cases, DashPass holders presume discounts apply on all orders given how DoorDash advertises

the savings misleadingly. Thus, DoorDash twice deceives DashPass holders through DoorDash’s



86
  Ex. 61, DoorDash Customer Support, DashPass, DOORDASH, https://help.doordash.com/
consumers/s/article/What-is-DashPass?language=en_US (last visited May 3, 2023).
87
     Id.


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advertisements: (1) when they incur delivery fees for orders under the minimum spend and (2)

when they incur fees on orders placed with non-participating merchants.

           127.   Equally misleading are DoorDash’s advertisements that “DashPass subscribers

save an average of $4-5 per eligible order.” 88 DoorDash sells DashPass for “$9.99/month with

the monthly plan or $96/year ($8/month) with the Annual Plan.” But these purported savings are

falsely represented and, upon information and belief, are in fact engineered.

           128.   As reflected in the test discussed in paragraph 113, DoorDash’s DashPass

embodies many elements of DoorDash’s predatory pricing practices. Under this test, DoorDash

applied the Expanded Range Fee to a DashPass account but not to a standard account despite

each account placing the same order at the same time to the same restaurant for delivery to the

same home. Upon information and belief, DoorDash on occasion applies the Expanded Range

Fee to DashPass accounts to recoup or offset some of the purported discounts provided under

that program. Upon further information and belief, DoorDash “engineers” DashPass savings by

charging other fees and changing minimum spend thresholds sua sponte to ensure that program

remains profitable. DoorDash then drives consumers to spend more on DashPass by advertising

false savings. For example, under the aforementioned test, DoorDash falsely tells the DashPass

account holder that the delivery fee of $2.99 is zero when in fact the Delivery Fee charged to a

consumer is only $0.49, as reflected on the standard account. DoorDash discounts the service fee

on the DashPass which lowers the taxes, but DoorDash then assesses an Expanded Range Fee on

the DashPass account to recoup part of that discount. DoorDash then falsely represents that the

DashPass holder saved $4.22 on this order when that holder really saved only $0.73 on the exact

same order from a standard account. The unsuspecting consumer believes they saved almost half


88
     Id.


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the value ($4.22) of a monthly DashPass ($9.99) in one order. But, of course, that representation

is false. DoorDash’s promotion of the DashPass is a significant part of its fraudulent sales

gimmick scheme to reduce illicit delivery fees See illustrations below.




                        DashPass Account               Standard Account

        129.   For any of the above reasons and for all of them, DoorDash misrepresents

DashPass savings. Upon information and belief, DoorDash “engineers” fee reductions under

DashPass as a profit center achieved at certain consumer minimum spend thresholds, allowing

for true savings only at higher consumer spend thresholds. The DashPass account holder never

realizes the benefit of the bargain with DoorDash’s manipulation. Moreover, the DashPass

account holder like Plaintiff Hecox never assented to the Terms and Conditions when registering

to become a DashPass member.

   H.      DoorDash Disclosures About its Fees are Deceptive

        130.   DoorDash makes disclosures on its platform, in its Terms and Conditions, and in

various locations throughout its website, particularly in the hard-to-find support search function.



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As a threshold matter, the DoorDash Platform’s disclosures are neither clear nor conspicuous. In

making disclosures on its platform, DoorDash uses small icons with a lower-case “i” enclosed in

a circle to provide curt explanations of certain fees only if a consumer clicks on that icon to

access it. The disclosures “explain” fees and pricing in a manner that omits or misleads material

facts about DoorDash’s billing practices in furtherance of its deception. These explanations

conceal and/or misrepresent not only the true nature of the fees charged, but also the identity of

who or what entity receives them. DoorDash also provides these disclosures in various other

places with contradictory explanations.

       131.    For example, paragraph 112 discusses DoorDash’s misleading description of the

Expanded Range Fee, and paragraph 108 discusses DoorDash’s misleading description of the

Delivery Fee. In those informational icons, DoorDash misleads consumers, like Plaintiffs, about

delivery areas and costs related to deliveries. But DoorDash places slightly different information

about its prices and fees where consumers are unlikely to see or seek them, i.e., on its merchant

restaurant’s menu page. On that merchant’s page, hidden near the top, underneath the

restaurant’s logo, obscured by the bolded restaurant name, and above larger bolded icons for

pickup and delivery options, DoorDash places an informational icon that address DoorDash’s

prices and fees in small gray font. If a consumer clicked on that icon, DoorDash provides various

explanations of its charges, including all fees “go to DoorDash and help cover the costs of

operating the DoorDash Platform.” By strategically locating this pricing and fee icon in the same

place where hungry consumers are ordering food and where menu items prominently display

pricing information under them already, DoorDash limits the likelihood consumers will ever see

this information. Instead, consumers are more likely to see the icons next to the itemized fees

during the checkout process, and the icons for Delivery Fees and Expanded Range Delivery Fees




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focus on those fees being related to deliveries. There is no mention about DoorDash retaining the

fees or the fees being part of the cost to operate the platform. Thus, DoorDash’s disclosures are

deceptive in terms of both location and substance. See illustrations below.




       132.    With respect to substance, DoorDash’s delivery disclosures create two misleading

impressions. First, the delivery-related fees relate to delivery work performed by Dashers.

Second, Dashers receive the delivery fees for performing deliveries. Neither impression is true.

Instead, DoorDash collects and retains all delivery related fees, which are nothing more than a

partitioned service fee.

       133.    Taking delivery related fees for itself, DoorDash only gives Dashers a “delivery

offer.” A delivery offer is a predetermined compensation package for each order that is separate

and apart from, and not identified on, any consumer order. Upon information and belief, the offer

is directed to a specific Dasher who can accept or reject the offer, although rejection comes with

consequences as it may interfere with future delivery offers. Dasher compensation in the delivery

offers principally consists of a base pay, which DoorDash creates and advertises as ranging from




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$2 to $10 per trip, 89 but appears to average around $3 per trip. DoorDash may also give a Dasher

promotional pay for an order and the driver might receive a tip. 90 Neither the promotional pay

nor the tip is a guaranteed part of a delivery offer. While DoorDash will reveal to Dashers the

promotional pay included before they accept an offer, upon information and belief, DoorDash

may conceal or alter or change the consumer tip on an order. DoorDash likely takes these actions

as manipulative attempts to urge Dashers to accept the payment offer. One of the most critical

issues facing Dashers is the lack of a consumer tip. The tip represents a significant portion of

Dasher’s compensation, making the difference between a profitable or losing job. 91 But Dashers

frequently receive no or little tip because DoorDash misleads naïve consumers into believing

Dashers (not DoorDash) receive the range of delivery related fees for deliveries that the Dashers

(not DoorDash) perform. These misleading impressions—caused in part by misleading

“disclosures”—create a tension between consumers and Dashers over the costs that consumer

pay for deliveries. DoorDash is solely responsible for creating this tension. But Dashers have

little recourse for DoorDash’s actions given Dashers waive crucial rights under their DoorDash

independent contractor agreement. And DoorDash mistakenly believes that its Terms and

Conditions similarly constrain consumers.

      I.      DoorDash’s “Other Factors” in Assessing Delivery Fees is Price Discrimination

           134.   One source defines “price discrimination” as “a selling strategy that charges

customers different prices for the same product or service based on what the seller thinks they


89
  Ex. 4, DoorDash Dasher Support, How Dasher Pay Works, DOORDASH, https://help.
doordash.com/dashers/s/article/How-is-Dasher-pay-calculated?language=en_US (last visited
May 3, 2023).
90
     Id.
91
 For people using on-demand delivery services, please tip the drivers. Tipping is how they truly
make most of their money.


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can get the customer to agree to. In pure price discrimination, the seller charges each customer

the maximum price they will pay. In more common forms of price discrimination, the seller

places customers in groups based on certain attributes and charges each group a different

price.” 92 Upon information and belief, DoorDash charges different customers different fees for

the same orders based on discriminatory reasons.

         135.   As mentioned above, DoorDash states in its informational icon that its “Delivery

fee varies for each restaurant based on your location and other factors.” 93 DoorDash expands on

this description slightly in its webpage under customer support, stating the Delivery Fee “is

charged on delivery orders and helps DoorDash cover costs associated with getting your order

directly to you and can vary depending on the merchant location, and other factors, such as

demand.” 94 In searching for further explanation of the mysterious, non-descript “other factors,”

DoorDash does not disclose that its charges more delivery fees for any reason other than

demand—and demand should not be a delivery issue for a company that does not perform

deliveries. Since DoorDash does not disclose precisely what “other factors” influence the

Delivery Fee, Plaintiffs’ reasonable investigation into DoorDash’s predatory practices included

tests on the DoorDash Platform’s pricing system to determine what other factors might exist.

         136.   The pricing tests tried to create a neutral environment to assess how DoorDash

charged consumers for fees. In doing so, the test used different accounts to place the same order

from the same restaurant at the same time to be delivered to the same address. The restaurant



92
  Ex. 62, Alexandra Twin, What Is Price Discrimination, and How Does It Work?,
INVESTOPEDIA (June 13, 2022), https://www.investopedia.com/terms/p/price_discrimination.asp.
93
     Supra ¶ 106 (emphasis added).
94
  Ex. 58, DoorDash Customer Support, What fees do I pay?, DOORDASH, https://help.doordash.
com/consumers/s/article/What-fees-do-I-pay?language=en_US (last visited May 3, 2023).


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menu prices are set prices at a given time for a given location so no difference should exist there.

And DoorDash’s service fee is a set percentage of the food subtotal equaling either 15% or a $3

minimum, whichever is greater, so there should be no difference between the menu costs, service

costs, and associated taxes when ordering for the same restaurant at the same time. In theory,

“different account” types could influence a consumer’s price if a standard account and DashPass

(pre-paid “saving”) account placed the same orders, given that DoorDash manipulates its fees for

DashPass orders, as discussed in paragraphs 123 to 129. Consequently, the tests accounted for

different account types. To create a truly neutral environment, the test also accounted for device

types including desktop computers; IOS based products like iPhones, iPads, and Macbooks; and

Android systems like Samsung mobile devices. And while the physical location of the device

placing an order should have no influence on the price of a virtual order, the test still accounted

for the actual location of the device placing the order. The test results were alarming.

       137.    The first test involved Android User 1 and Apple User 1, who placed orders for

deliveries to the same residence (Address 1) under their respective standard DoorDash accounts.

The users placed their orders on the DoorDash App from different physical locations—Apple

User 1 was located at Address 1, while Android User 1 was located about 15 miles away. The

orders included the same menu items from the same restaurant and were placed at the same time,

with the same delivery speed (standard), and included the same tip. Under this test, iPhone User

1 incurred a ninety-nine cent Expanded Range Fee, while the Android User 1 did not. See

illustrations of the test results on the following page.




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                        iPhone User 1                       Android User 1

       138.    Under the second test, Android User 1 (while located at Address 2) and iPhone

User 1 (while located 15 miles away) placed identical orders at the same time to be delivered to

the same address (Address 2). Because the restaurant thought the orders were duplicative, the

receipts below reflect slightly different times for when the restaurant entered the orders into its

system. But again, the DoorDash Platform charged the iPhone user a dollar more than the

Android user for the same delivery. See illustrations below.




                       iPhone User 1                        Android User 1



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       139.    Under the third test, Android User 1 and iPhone User 1 again placed the same

orders with all the same criteria to be delivered to Address 1 but, this time, the users placed the

orders while physically located in the same place (Address 1). The location made no difference.

Again, iPhone User 1 was charged more for the order. But here, DoorDash charged iPhone User

1 an extra dollar for the Delivery Fee and included a ninety-nine cent Expanded Range Delivery

Fee, making the iPhone order almost 8% higher than the Android order. See illustrations below.




                       iPhone User 1                             Android User 1

       140.    Under the fourth test, Android User 1 and iPhone User 2 were located at Address

2 and placed the exact same orders under their respective standard accounts at the same time to

Panera Bread. Although the users placed their orders while located in the same physical location

(Address 2) for delivery to the same place (Address 2), the DoorDash Platform sent iPhone User

2’s order to a Panera Bread located closer to Address 2 (within 5.3 miles) and sent Android User

1’s order to a Panera Bread located further from Address 2 (within 8 miles). The cost of the

menu item was higher at the location for the iPhone user. Proving that distance has no material

bearing on delivery fees, the DoorDash Platform charged iPhone User 2 five dollars more than


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Android User 1 for Delivery Fees, despite iPhone User 2’s order being placed at a location closer

to the actual delivery address. In the end, the iPhone user paid almost 32% more for that same

order than the Android user. See illustrations below.




               Android User 1                                       iPhone User 2

       141.    Under the fifth test, Android User 1 and iPhone User 3 were located at Address 2

when placing the exact same orders at the same time under their respective standard accounts to

be delivered to Address 2. DoorDash charged iPhone User 3 a “discounted” delivery price of

$7.99, while displaying a strikethrough price of $8.99. However, the actual delivery fee was

much less. DoorDash charged Android User 1 only $5.99 for the same delivery of the same order

at the same time from the same restaurant, making both the strikethrough delivery price false and

greatly inflating the iPhone user delivery price (by more than 8% higher). See illustrations on the

next page demonstrating the results of this test.




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               iPhone User 3                                  Android User 1

       142.    Under the sixth test, to demonstrate that a user’s standard account does not impact

the increased fee charges, Android User 1 logged off his standard account on his Android device

and logged in under the standard account for “iPhone User 2” on the same Android device used

by Android User 1 (hereinafter “Special Android 1”). Then, while located in the same physical

place (Address 2), Special Android 1 and iPhone User 3 placed identical orders at the same time

to be delivered to Address 2. Again, DoorDash charged the iPhone user more than the Android

order. Thus, unlike with test 5, the standard account for iPhone User 2 realized a savings when

ordering on an Android device in test 6. The iPhone user paid almost 12% more for the same

order from the same place at the same time. See illustrations on the following page that

demonstrate the results of this test.




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              iPhone User 3                                  Special Android 1

       143.   Under the seventh test, four different orders were placed simultaneously. Android

User 1 (standard account), PC User 1 (standard account), iPhone User 1 (DashPass account) and

Android User 2 (DashPass account), placed the same order at the same time from the same

restaurant with the same delivery speed and same tip to be delivered to the same Address 1. PC

User 1 and iPhone User 1 were located at the same address (Address 1), while the other devices

were within 15 miles of that address when placing the orders. DoorDash charged four different

prices for the same orders from the same place at the same time. The DashPass accounts received

discounts on delivery and service fees, making those orders cheaper. For those orders, however,

the Android User 2 DashPass account received a greater discount than the iPhone User 1

DashPass account. And for the other orders, the Android User 1 standard account paid less than

the PC User 1 standard account, which DoorDash charged an Expanded Range Delivery Fee.




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Notably, the savings represented to both DashPass members were false based on the delivery

fees charged to Android User 1 for the same order. See illustrations below.




               PC User 1 Standard                         Android User 1 Standard




                iPhone User 1 DashPass                  Android User 2 DashPass



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        144.   As the above tests demonstrate, and upon information and belief and subject to

further investigation and discovery, DoorDash routinely charges iPhone users more than Android

users for reasons wholly unrelated to delivery and service costs. DoorDash likely charges iPhone

users more because studies suggest that iPhone users make more money than Android users. 95

DoorDash likely takes the same approach when ordering from a PC. While these actions may

represent violations of the Sherman Antitrust Act, Clayton Antitrust Act, and Robinson-Patman

Act, DoorDash’s discriminatory pricing practices truly demonstrate the fraudulent nature of its

fees. Under its predatory pricing scheme, DoorDash engineers its fees to reach certain revenue

goals without regard to the nature of the fee that DoorDash charges consumers or how they are

represented to consumers. These charging practices are abhorrent.

 VII.    THE TRUTH ABOUT DOORDASH’S FRAUDULENT PRICING SCHEME

        145.   DoorDash is committing a massive fraud. DoorDash’s predatory pricing practices

charges fees arbitrarily and capriciously in violation of numerous federal, state, and common

law, including Section 5 of the Federal Trade Commission Act, 15 U.S. Code § 45. Despite this

fact, DoorDash says its “mission [is] to grow and empower local economies,” but DoorDash’s

predatory tactics achieve the opposite results. Merchants earn less revenue and endure more

competition in sales; consumers pay more for food costs; and drivers are left searching for

profitable gigs that are few and far between. To that end some drivers even contend DoorDash

hires individuals to promote fictious gigs with unrealistic payments on TikTok and other social

media platforms to influence Dashers to drive for the company. 96 And for those who do drive,


95
  Ex. 63, Bartosz Szczygieł, iPhone vs Android Users: Key Differences, NETGURU (Dec. 13,
2022), https://www.netguru.com/blog/iphone-vs-android-users-differences.
96
  See Driven Wyld, Doordash Driver EXPOSES Company for False Advertising! The Harsh
Truth! UberEats Grubhub Instacart, YOUTUBE (Apr. 13, 2023), https://www.youtube.com/
watch?v=cnam6bA3nc4.


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DoorDash’s misrepresentations create conflicts between consumers and drivers over tips and

delivery fees. And DoorDash’s misrepresentations cause animosity between consumers and local

establishments over increased prices. Thus, DoorDash’s claim that it grows and empowers local

economies is as fabricated and fraudulent as its pricing practices.

        146.   DoorDash presents its predatory pricing scheme to consumers like Plaintiffs in a

uniform manner. Regardless of the device used (Android or Apple) or the platform accessed

(mobile app or website), each consumer interacts with DoorDash in the same manner and is

subjected to the same fraudulent scheme that DoorDash advances with the same deceitful

representations. DoorDash’s fraud occurs every day, in every transaction with every consumer in

many ways. While the range of damages for consumers, like Plaintiffs, may vary, DoorDash’s

records will provide that information uniformly.

   A.      Fraud and Deception in Registering to Use DoorDash

        147.   Consumers register with DoorDash in the same basic manner and are exposed to

the same deficient language during the registration process. In this respect, DoorDash treats all

consumers the same: DoorDash distracts each consumer from seeing and reading the Terms and

Conditions by employing a cluttered registration process focused on speed and efficiency rather

than disclosure and compliance. As a result, DoorDash fails to provide consumers with a

definitive offer, with sufficient consideration, or with proper inquiry notice or otherwise to allow

them to manifest their assent to a contract when registering to use the DoorDash Platform.

        148.   Adding to its deception, DoorDash uses its Terms and Conditions to force

unaware consumers into strategic acknowledgements, while concealing the details of its dubious

conduct in incomprehensible legalese. Without providing true inquiry notice, avoiding clickwrap

agreements it uses with merchants and drivers and using manipulative registration tactics,




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DoorDash knows consumers are unlikely to see any misleading partial “disclosures.” As a result,

DoorDash includes misleading statements in its Terms and Conditions to preserve arguments

about the nature of its deceptive and fraudulent conduct. But even if the average consumer could

find the misleading, partial “disclosures,” that reasonable consumer could not understand them,

or piece together DoorDash’s entire scheme. These disclosures, like the rest of the terms, are

legally complex and dense, spanning over 27 standard, single-spaced pages. DoorDash’s

purported “contractual” Terms and Conditions are truly nothing more than an instrumentality of,

or a part of the means for, accomplishing the fraud perpetuated on consumers.

   B.      Fraud and Deception in Hidden Fees

        149.   DoorDash hides Marketing and Commission Fees in menu items that consumers

unwittingly pay and DoorDash collects. The Commission Fee includes surcharges not only on

credit card transactions, but also on debit and pre-paid debit card transactions in violation of

applicable laws. DoorDash falsely advertises items as discounted when they are secretly marked

up with hidden fees. The impact of these hidden fees is significant. Restaurants increase their

prices on consumers, who then must pay more for DoorDash’s service fee because it is a

percentage of food costs. Consumers bear the expense of this perverse economic model.

   C.      Fraud and Deception in Advertising Prices

        150.   Relying on its Terms and Conditions in part to shield it from exposure, DoorDash

engages in deceitful advertising. DoorDash uses strikethrough pricing (where an original price is

struck and replaced with a lower price); partition pricing (separating a single price to make it

look smaller); drip pricing (revealing more costs as the sale process proceeds); price

discrimination (charging consumers different prices for the same service); and dark patterns

(having consumers become invested in their purchase through manipulation) as part of a bait-




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and-switch advertising scheme to market food and delivery costs to consumers, including its sale

of DashPass. Like a game of three-card monte, DoorDash moves the costs from one category of

fees to another so consumers never truly know the standard pricing and never truly realize the

benefit of the advertised deal.

   D.      Fraud and Deception in Describing the Nature of Services Provided

        151.   DoorDash makes various misrepresentations in connection with the services

provided and fees and costs charged. DoorDash intentionally misrepresents the speed of

deliveries, selling a faster delivery directly to you without any true ability to ensure what it is

selling can be provided. DoorDash misrepresents that the merchant’s location or distance

increases DoorDash’s costs, when Dashers incur the travel expenses and DoorDash has already

charged merchants for delivery fees relating to the Dashers’ services. In applying these fees,

DoorDash creates confusion over who is providing the delivery service although it only provides

technology over its platform. DoorDash similarly misrepresents Dashers receive fees associated

with the delivery services that DoorDash collects and keeps in total—fees that have nothing to

do with actual deliveries. Each of these misrepresentations is an integral part of an intentional

scheme to manipulate and trick consumers, deceiving them into paying their hard-earned money.

        152.   DoorDash engages in a modern-day bait-and-switch. With respect to the “bait,”

DoorDash advertises low, or no cost delivery fees or promotional or discounted menu items to

consumers. But DoorDash does not intend to provide any true discount. Instead, consumers, like

Plaintiffs, endure the “switch” where DoorDash charges them a bevy of fees for marketing, food

commissions, DashPass, and a range of contrived delivery services. DoorDash levies these fees

to reach its desired per-job compensation level without ever truly providing the advertised bait.




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DoorDash then engages in a series of other manipulative practices to conceal and complete its

deceptive and fraudulent actions.

      E.      Fraud and Deception in Disclosures

           153.     DoorDash hides certain concessions from consumers instead of providing

prominent informational tabs with complete, consistent, and candid disclosures. Where

strikethrough pricing is used on its platform, DoorDash does not include a disclosure stating, it

“does not represent that the strikethrough price was the regular or former price of items for any

particular period of time” 97 and that its menu pricing “may not be the lowest prices at which the

menu or other items are sold and may change at any time without notice.” 98 DoorDash, instead,

uses “informational” tabs with contradictory and misleading explanations that dissuade the

consumer from searching further. And then DoorDash advertises delivery windows that mislead

hungry consumers, who have all the attendant physical and psychological symptoms (including

impacted decision making) that accompany hunger, into believing that DoorDash will deliver in

a time that DoorDash already knows it cannot meet. With these artifices deployed, DoorDash

unilaterally applies the Delivery Fee and Expanded Range Fee to orders and allows consumers to

purchase the Express option for yet another fee, leaving the impression drivers are making

deliveries further and faster and incurring charges along the way. But these fungible fees have

nothing to do with delivery drivers. DoorDash invented them and retains them in total. Similarly,

DoorDash retains a Marketing Fee that DoorDash hides in promotional items and a Commission

Fee that DoorDash hides in all menu items without ever informing consumers that they are



97
  Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH
¶ 12(b) (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.
98
     Id. ¶ 12(a).


                                                  91
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paying these fees. DoorDash even charges consumers for using their credit cards and debit cards

without ever telling them.

   F.      Fraud and Deception in Parceling Out Fees

        154.   All DoorDash’s fees—Delivery Fee, Extended Range Fee, Marketing Fee,

Commission Fee, Regulatory Fee, DashPass Fee, and Express Fee—are untethered from real,

distinct elements of DoorDash’s service. Consumers do not receive any actual convenience or

distinct benefit when paying for these fees separately because they represent a single amenity,

namely the cost of technology service that DoorDash provides. DoorDash’s choice to charge

consumers numerous categories of separate fees for its service, rather than one, all-inclusive fee

disclosed upfront, is an integral part of its deceptive sales strategy both nationwide and in

Maryland. And under this strategy, DoorDash misleadingly and fraudulently advertises to

consumers, like Plaintiffs, that DashPass offers certain benefits that it does not truly provide.

        155.   Arbitrarily parceling out the full charge wards off sticker shock and misleads

consumers regarding the true price of DoorDash’s service. To that end, DoorDash engages in

partition pricing (dividing the full price of services into parts) and drip pricing (promoting only a

portion of a service cost upfront, revealing the rest only as consumers navigate and complete the

buying process). And when DoorDash advertises its costs for fees, services, and even food, it

uses deceptive strikethrough pricing. DoorDash then charges consumers different amounts for

the same order involving the same services, delivered to the same address, which represents price

discrimination. DoorDash’s employment of all these dubious pricing methodologies supported

by partial and misleading disclosures, operate to defraud consumers. The Federal Trade

Commission has recognized many of these methodologies (in the manner DoorDash employs

them), as misleading. And consumer watchdogs warn against some of these practices because




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separating prices “can lower customers’ perceptions of total cost” and “makes continued search

costlier and more complicated.” 99

           156.   Upon information and belief, each of these dubious fees is part of a fraudulently

engineered pricing scheme that fluidly achieves predetermined revenue goals for orders.

DoorDash manipulates its fees, like its Delivery Fee, at its whim, advertising $0 for some

deliveries to entice consumers to continue using the platform while it simultaneously raising fees

in other areas. And DoorDash employs discounts on these fees to sell monthly “DashPass”

accounts, beneficial to the company because consumers pay DoorDash a flat monthly rate even

when they do not place a single order. Alternatively, DashPass consumers must buy more to

realize true savings. Either way, DoorDash wins because it determines (or “engineers”) the cost

of each order and then engineers the best manner to get consumers to pay it. Unsuspecting

consumers have no benchmark against which to measure whether they truly receive a discount

because DoorDash never tells the truth about what represents the base “fee” for any order.

Imagine walking into a grocery store and seeing the price of eggs change each time a different

person examines them. Or worse, imagine if a grocery store clerk simply made up a price or told

you an additional fee applied after you loaded your cart with eggs, unloaded them onto the belt,

and began paying for them. Or perhaps the worst, imagine if the grocery store clerk charged you

more for those eggs because you had an iPhone or looked like you could pay more. These

seemingly far-fetched scenarios occur in real-life when consumers use the DoorDash Platform.

      G.      Impact of DoorDash’s Fraud and Deception

           157.   All delivery, marketing, and commission fees that DoorDash directly or indirectly

charges consumers, like Plaintiffs, are misleading, deceptive, and fraudulent. DoorDash creates


99
     David Adam Friedman, Regulating Drip Pricing, 31 Stan. L. & Pol’y Rev. 51, 59 (2020).


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its misleading and hidden fees because it knows consumers will use its platform less as fees that

go directly to DoorDash increase. 100 As a result, DoorDash, encourages (even creates the ability

for) restaurants to increase menu prices for delivery items because that means more money for

DoorDash, without consumers ever realizing that DoorDash is responsible for the increased

costs. 101 And then DoorDash slowly drips the additional fees and costs associated with using its

platform until the end of the order, revealing more of the true cost at checkout when consumers

feel invested. This approach increases the likelihood consumers will complete the transaction

despite incurring additional fees. Experts in the design of e-commerce user interfaces describe

this tactic as a “dark pattern [that] exploits the sunk cost fallacy cognitive bias: users are likely to

feel so invested in the process that they justify the additional charges by completing the purchase

to not waste their effort.” 102 This approach represents the essence of psychological manipulation.

        158.    In the end, consumers, like Plaintiffs, are injured in the same way by incurring

monetary damages, which can be calculated based on information from DoorDash’s records.

DoorDash’s predatory practices in effect steal consumers’ hard-earned money and their precious

ability to make informed decisions when using technology to order in the on-demand delivery

market. DoorDash’s deceit generates billions in annual revenue using tactics that manipulate,

trick, deceive, and/or induce consumers, like Plaintiffs, into using DoorDash not only at a much

higher and premium price, but also without receiving the true benefit of their bargain. In other



100
  Ex. 64, The impacts of price controls, DOORDASH (Apr. 8, 2021), https://doordash.news/
company/the-impacts-of-price-controls/amp/.
101
   Ex. 13, Sara DeForest, Food Delivery and Pickup Commissions and Fees, Explained,
DOORDASH FOR MERCHANTS (May 2, 2023), https://get.doordash.com/en-us/blog/food-delivery-
pricing.
102
   Ex. 65, Arunesh Mathur et al., Dark Patterns at Scale: Findings from a Crawl of 11K
Shopping Websites, Proc. ACM Hum.-Comput. Interact. 81, 13 (2019).


                                                  94
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words, consumers hold the risk and fund the cost of DoorDash’s fraudulent game of “Catch Me

If You Can.” Plaintiffs now sue to recover their damages from DoorDash’s predatory pricing

practices.

       159.     This case raises four fundamental questions: (1) whether DoorDash’s wrap

agreement creates an enforceable contract between DoorDash and consumers; (2) if the wrap

agreement can create a contract between DoorDash and consumers, whether such a contract

forms against minor consumers who lack a capacity to contract; (3) even if the wrap agreement

can create a contract between DoorDash and consumers, whether the arbitration agreement is

supported by adequate, separate consideration; and (4) even if the wrap agreement can create a

contract between DoorDash and consumers, whether the DoorDash Platform allows consumers

to knowingly and voluntarily waive their right to a jury trial. These fundamental questions are

asserted on behalf of a potential class of millions of consumers nationwide, and tens, if not

hundreds, of thousands in Maryland alone. Each of these individuals fell victim to DoorDash’s

common, fraudulent, and deceptive scheme without ever assenting to a contract based on a clear

offer, acceptance, and consideration—basic contractual elements (including sufficient notice)—

that would make the Terms and Conditions binding.

        VIII.     COMMON FACTUAL ALLEGATIONS TO RICO COUNTS

       160.     Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 159 in support of their RICO count.

       161.     In 1970, Congress passed RICO as part of a comprehensive legislative package

aimed at combating the influence of organized crime on interstate commerce, 103 from infiltrating


103
    S. Rep. No. 91-617, at 76 (1969) (stating that RICO’s purpose was “the elimination of the
infiltration of organized crime and racketeering into legitimate organizations operating in
interstate commerce”).


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legitimate businesses. 104 When it enacted RICO to address criminal activity, Congress included a

civil remedy provision that allows private parties to sue for injuries to their “business or

property” caused “by reason of” a defendant’s violation of RICO. 105

           162.   DoorDash’s massive fraud on consumers implicates two of the four types of

activities that RICO outlaws. First, DoorDash’s conduct implicates § 1962(a), which prohibits a

person from investing in an enterprise any income that is derived from a pattern of racketeering

activity. 106 Second, DoorDash’s conduct implicates § 1962(c), which prohibits a person from

conducting the affairs of an enterprise through a pattern of racketeering. 107 Below, we address

each of DoorDash’s multiple violations of RICO.

      A.      DoorDash is a Culpable Person

           163.   DoorDash is a culpable person as defined under RICO and recognized in law. 108

DoorDash intended to engage in fraudulent conduct with actual knowledge that its conduct

violated applicable law as evidenced by its deceptive and misleading statements and attempts to

conceal the true nature of its fraudulent scheme. Indeed, over the past several years, at a

minimum, consumers, merchants, drivers, and even municipalities have sued DoorDash because

of its illegal, fraudulent activities. As a culpable “person,” DoorDash both invested income from

racketeering activity into an enterprise and/or conducted the affairs of a distinct “enterprise”

through a “pattern” of “racketeering” in a way that proximately caused Plaintiffs injuries.


104
   Jed S. Rakoff & Howard W. Goldstein, RICO Civil and Criminal Law and Strategy, § 1.01, at
1-4 (2000 ed.) (quoting S. Rep. 91-617, at 76 (1969)).
105
      18 U.S.C. § 1964(c).
106
      18 U.S.C. § 1962(a).
107
      Id. § 1962(c).
108
   Id. § 1961(3) (defining a culpable “person” as an “individual or entity capable of holding a
legal or beneficial interest in property”).


                                                 96
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B.     DoorDash Engaged in Racketeering Activity Through the Predicate Acts of Mail
       and Wire Fraud

       164.    In implementing its predatory pricing practices against consumers, like Plaintiffs,

DoorDash engaged in mail fraud in violation of 18 U.S.C. § 1341 and wire fraud in violation of

18 U.S.C. § 1343 (collectively “DoorDash’s Predicate Acts”). DoorDash’s mail and wire fraud

represent the predicate acts underlying its racketeering activities.

       165.    Particularities of Mail Fraud. DoorDash uses a persistent course of conduct

over numerous years in which it sends advertisements through the mail to consumers, like

Plaintiff Hecox, at his place of residence. In those advertisements, DoorDash not only promotes

its predatory pricing practices, but entices consumers, like Plaintiff Hecox, to use the DoorDash

platform with misleading discount offers. Plaintiff Hecox has received these mail solicitations,

and those solicitations helped induce him to place orders with DoorDash. The mail solicitations

helped further DoorDash’s fraudulent pricing scheme.

       166.    Particularities of Wire Fraud. In completing its fraud on consumers, like

Plaintiffs, DoorDash uses text-messages and e-mail communications between Plaintiffs,

DoorDash, merchants, and Dashers, throughout the pendency of the order. These

communications occurred at the time and date each Plaintiff placed an order and went to each of

them at the specified delivery location. The content of these communications confirmed orders,

updated consumers on the status of orders placed with merchant restaurants, informed consumers

on the delivery status, explained delays or other problems, and confirmed when delivery

occurred. On occasions, consumers like Plaintiffs, also received communications from Dashers

about the status of the consumers’ orders. Plaintiffs ordered from DoorDash on numerous

occasions over the years. DoorDash possesses records of each order, which contain the specific




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time, place, and content of the wire communication, which Plaintiffs will obtain during

discovery.

           167.   DoorDash’s Predicate Acts are part of its complex fraudulent scheme to defraud

consumers through a series of solicitations, misrepresentations, and deceiving advertisements

and predatory pricing practices. DoorDash knew that it engaged in illegal activities, as evidenced

by its scheme to use oppressive Terms and Conditions—which DoorDash knew most consumers

would not see and could not comprehend even if consumers took the time to locate and read

them. These Terms and Conditions strategically disclosed some, albeit incomplete, aspects of

DoorDash’s misconduct in a transparent attempt to negate the mens rea for its fraud. And the

Terms and Conditions also obtained strategic acknowledgments from consumers that positioned

DoorDash to make the inane claim that its users consent to being defrauded through deceptive

pricing practices.

      C.      DoorDash Engaged in A Pattern of Racketeering Activities

           168.   DoorDash engaged in numerous racketeering activities over the last four years. 109

DoorDash’s Predicate Acts are related and continuous and, thus, form a “pattern of

racketeering.” DoorDash’s Predicate Acts harm consumers like Plaintiffs.

           169.   Related Acts. DoorDash’s Predicate Acts are related or interrelated because they

have the same or similar: (a) purposes, (b) results, (c) participants, (d) victims, (e) methods of

commission, or (f) other distinguishing characteristics, including:

           170.   Similar Purpose. DoorDash’s Predicate Acts had the same purpose of defrauding

consumers, like Plaintiffs.




109
      Id. § 1961(5).


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       171.    Similar Results. DoorDash’s fraud on consumers, like Plaintiffs, had the same

results, insomuch as the company intended to gain and gained money illicitly.

       172.    Similar Participants. DoorDash’s predatory practices involved the same cast of

characters, namely DoorDash employees, contract drivers, merchants, and unwary consumers.

       173.     Similar Victims. DoorDash uniformly injured consumers, like Plaintiffs, by

depriving them of their monetary property, making each of them a victim of DoorDash’s

predatory, fraudulent pricing scheme.

       174.    Similar Methods of Commission. DoorDash defrauded each consumer, like each

Plaintiff, through the DoorDash Platform, which implemented the same fraudulent activities in a

uniform manner.

       175.    Similar Distinguishing Characteristics. Every step of DoorDash scheme,

including its solicitation and advertisement in the mail and the text message and emails,

prominently displayed the DoorDash logo or name.

       176.    Continuous Acts. DoorDash’s Predicate Acts are continuous and involve both

closed-ended and open-ended schemes. First, DoorDash uses a closed-ended scheme under

which DoorDash engaged in fraud repeatedly and extensively in number and duration of times

when using mail solicitations and advertisements, and when accepting and completing each

individual consumer order, like Plaintiffs’ orders, through their, computers, mobile devices,

and/or emails. These racketeering activities represent a series of related predicate acts over a

substantial period—more than several months or a year for Plaintiffs. Second, DoorDash uses an

open-ended scheme under which DoorDash has engaged in extensive fraudulent activities for

years and continues to engage in such conduct until and unless injunctive relief can end such

practices. The threat of these predatory pricing practices continues to rely on the mail to solicit




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victims of the fraud and uses text and emails to bring the fraud to completion. In other words,

DoorDash illegal conduct has lasted years, and the threat will continue indefinitely without

judicial intervention.

      D.       DoorDash’s Racketeering Activities Affect Stride Bank and/or the Dasher Direct
               Program as RICO Enterprises

            177.   In 2022, the DoorDash Marketplace Gov 110 generated over $53 billion, 111

benefiting extensively from DoorDash’s predatory pricing practices which dramatically

increased the cost of food and delivery services. In 2022, DoorDash made almost $6.6 billion in

revenues, while Dashers made over $13 billion in revenue. 112 Upon information and belief,

DoorDash has long viewed Dashers’ earnings as an additional revenue source that DoorDash

could exploit. After all, many Dashers are unbanked and new to this country, and DoorDash

controls the jobs that the Dashers receive and the amount of money that they make.

            178.   In or around December 2020, DoorDash launched the Dasher Direct Program. 113

In a press release announcing the program, DoorDash noted:

            With Dashers’ needs top of mind, we’re excited to launch DasherDirect –
            DoorDash’s first financial platform for Dashers, featuring a Business Prepaid
            Visa Card and mobile banking app. With no-fee daily deposits, convenient mobile
            banking functionality, and cash-back rewards, the DasherDirect platform
            empowers Dashers with more flexibility and control over their earnings.

            DasherDirect is powered by our partners at Payfare and issued by Stride Bank.
            Through the DasherDirect app, Dashers can check their account balance, pay


110
   DoorDash defines its “Marketplace GOV” as the total dollar value of Marketplace orders
completed in its local logistics platform, including taxes, tips, and any applicable consumer fees,
including membership fees related to DashPass.
111
      Ex. 6, Excerpts from DoorDash, Inc., Annual Report (Form 10-K), at 61-62 (Feb. 24, 2023).
112
      Id.
113
   Ex. 66, Brandon Silverman et al., DasherDirect- A Financial Platform Designed for Dashers,
DOORDASH (Dec. 14, 2020), https://doordash.news/dasher/dasherdirect-a-financial-platform-
designed-for-dashers/amp/.


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            bills, transfer money, set savings goals and find no fee ATMs on the go – without
            worrying about overdraft fees or minimum account balance requirements. 114

On its website under “Introduction to DasherDirect,” DoorDash explains, “Payfare is a company

that DoorDash partnered with to provide DasherDirect. Payfare provides the mobile app

technology and the DasherDirect card is issued by Stride Bank, member FDIC.” 115 With respect

to its operation, DoorDash pays the Dasher through a direct deposit on a VISA debit card that

Stride Bank underwrites. 116 “With DasherDirect, the earnings from [Dasher’s] deliveries are

deposited instantly at the end of every dash -- for no-fee -- so [Dashers] can access [their] cash

when [they] need it.” The key lure of the DasherDirect Program is that DoorDash does not

charge Dashers a fee to receive their earnings daily.

            179.   Despite having the ability to pay them immediately, DoorDash pays Dashers

weekly from the revenues of its racketeering activities. If Dashers want to receive their earned

compensation daily, they must pay DoorDash a “Fast Pay” fee of $1.99 per transaction (meaning

per day) to release their funds each day. 117 With six million Dashers performing deliveries each

year, 118 DoorDash stands to make millions in interest holding its drivers’ compensation weekly

and millions more charging drivers a daily Fast Pay fee. But the DasherDirect Program gives

DoorDash the ability to make even more money from the Dashers’ billions in annual revenue.



114
      Id.
115
    Ex. 10, DoorDash Dasher Support, Introduction to DasherDirect, DOORDASH, https://help.
doordash.com/dashers/s/article/Introduction-to-DasherDirect?language=en_US (last visited May
3, 2023).
116
      Id.
117
   See Ex. 4, DoorDash Dasher Support, How Dasher Pay Works, DOORDASH, https://help.
doordash.com/dashers/s/article/How-is-Dasher-pay-calculated?language=en_US (last visited
May 3, 2023); Ex. 5, DoorDash Dasher Support, What is Fast Pay?, DOORDASH, https://help.
doordash.com/dashers/s/article/What-is-Fastpay?language=en_US (last visited May 3, 2023).
118
      Ex. 6, Excerpts from DoorDash, Inc., Annual Report (Form 10-K), at 7 (Feb. 24, 2023).


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       180.    Like many in the gig economy, Dashers face the conundrum of how to bridge the

gap between when they get paid and when they need their money. This gap creates desperation.

DoorDash leverages this desperation by holding Dasher’s compensation for up to a week and

then levying the “Fast Pay” fee. DoorDash provides “relief” by offering the no-fee daily deposit

under the DasherDirect Program. The results: most Dashers participate in the program to such an

extent that some Dashers do not even know the Fast Pay fee exists. Upon information and belief,

DoorDash now automatically enrolls Dashers into the DasherDirect Program or sends them the

materials to enroll at the outset of their engagement.

       181.    Upon further information and belief, the DasherDirect Program generates

revenues from both the Dashers’ debit card transactions and the pooled Dashers’ funds in which

Stride Bank invests. Upon information and belief, DoorDash, Payfare, and Stride Bank share

fees generated from the DasherDirect Program.

       182.    Lost in DoorDash’s potential to make millions, if not more, from shared fees

under the DasherDirect Program is an undeniable fact. The DasherDirect Program is financed

entirely by the funds DoorDash fraudulently procured from consumers, like Plaintiffs. DoorDash

pays Dashers with these illicit funds, holds those funds for Dashers participating in the

DasherDirect Program, and then invests those funds with Stride Bank under the DasherDirect

Program. Even if the illicit funds are invested with Stride Bank for a legitimate purpose and even

if the program provides beneficial services, the byproduct of the investment income remains

tainted by the fact that DoorDash derives the funds from its continuous, fraudulently scheme

executed with solicitations through the mail, text message, and email communications—

DoorDash’s pattern of racketeering activities. In other words, Stride Bank, Payfare, and/or the

DasherDirect Program are RICO enterprises that DoorDash has infiltrated with its continuous




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pattern of racketeering activities—activities that include the predicates of mail and wire fraud.

See illustration below demonstrating DoorDash RICO scheme.




          183.   RICO defines an enterprise as “any individual, partnership, corporation,

association or other legal entity, and any union or group of individuals associated in fact although

not a legal entity.” 119 Here, four RICO enterprises exist.

          184.   The Stride Bank, Payfare, and DoorDash Enterprises. Stride Bank, Payfare,

and DoorDash are each independent, corporate enterprises under 18 U.S.C. §1962(a). DoorDash

utilized the illicit funds derived from its pattern of racketeering activities to invest in the




119
      18 U.S.C. § 1961(4).


                                                  103
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DasherDirect Program. That investment generated additional income. DoorDash also targeted

Stride Bank and Payfare under the DasherDirect Program, providing them with an infusion of

illicit funds derived from DoorDash’s racketeering scheme.

       185.    The DasherDirect Enterprise. Under 18 U.S.C. § 1964(c), Stride Bank,

DoorDash, and Payfare created the DasherDirect Program through an association in fact (the

“Dasher Association”). The Dasher Association created the DasherDirect Program to allow

Dashers to conduct digital banking with Stride Bank, which provides private-label banking

services that in effect serve as a FDIC insured financial institution conduit. Payfare created and

manages the mobile application for Dashers to conduct digital banking under the DasherDirect

Program. And DoorDash sits at the top of the Dasher Association.

       186.    DoorDash managed the affairs and/or operations of the DasherDirect Program.

DoorDash recruited and hired Dashers; advertised the DasherDirect Program on the DoorDash

website, including agreements between Stride Bank and Payfare with Dashers; created the

program’s participation policies and rules; provided Dashers with the tools to participate in and

register for the program; and steered and manipulated Dashers’ participation in the program

through heavy-handed and fraudulent conduct identified herein. DoorDash’s heavy-handed and

fraudulent conduct as part of its management of the DasherDirect Program includes, but is not

limited to holding Dashers’ compensation for up to a week; implementing a Fast Pay for non-

participating Dashers; creating rules that prohibited both participating in Fast Pay and the

DasherDirect Program; managing the Dashers’ funds for purposes of allocating those funds to

Stride Bank by each individual Dashers’ name who participate in the program; and using its

pattern of racketeering activities to control and limit Dasher compensation, creating more

leverage to direct or otherwise manipulate Dashers’ participation in the DasherDirect Program.




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The Dasher Association’s common purpose under the program was generating fees, either

through debit card transactions or pooled investments, from the billions of dollars that Dashers

make annually.

      E.      Both the Enterprise and the Racketeering Activity Affect Interstate Commerce.

           187.   Both the activity of the enterprises—the DoorDash, Stride Bank, Payfare, and

DasherDirect Enterprises—and the predicate acts of mail and wire fraud underlying DoorDash’s

racketeering affect interstate commerce. DoorDash, Stride Bank, Payfare, and the DasherDirect

Program each involve the sale, acquisition, purchase, and/or investment of goods, services, and

monetary property, including the extension of credit, across state lines.

      F.      Plaintiffs Sustained an Injury Because of DoorDash’s Actions

           188.   Each Plaintiff is a person as defined under RICO. 120 Plaintiffs sustained an injury

to their property, including their money and other things of value such as their extension of

credit, because of DoorDash’s fraudulent, predatory pricing practices and scheme in violation of

RICO 18 U.S.C. §§ 1962(a), (c). Specifically, Plaintiffs sustained an injury because of

DoorDash’s racketeering activities insomuch as these acts defrauded Plaintiffs causing them a

monetary injury in violation of 18 U.S.C. § 1962(c). DoorDash then used the illicit funds

fraudulently procured from Plaintiffs to invest in the DasherDirect Program, injuring Plaintiffs

further in violation of 18 U.S.C. § 1962(a). 121 Under both situations, DoorDash was the factual

and proximate cause of Plaintiffs’ injuries. But for DoorDash’s actions that deprived Plaintiffs of

their property through mail and wire fraud, Plaintiffs would not have been injured.



120
      18 U.S.C. § 1961(3).
121
   A plaintiff need not allege injury from the use or investment of racketeering proceeds. Potomac
Elec. Power Co. v. Elec. Motor & Supply, Inc., 262 F.3d 260, 264 n.2 (4th Cir. 2001); Busby v.
Crown Supply, Inc., 896 F.2d 833, 836-40 (4th Cir. 1990).


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   G.      Plaintiffs’ Claims Are Timely.

        189.   Within the last four years, each Plaintiff incurred an injury due to DoorDash’s

wire and mail fraud.

                               CLASS ACTION ALLEGATIONS

        190.   Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 189 by reference.

        191.   Plaintiffs bring this action on their own behalf and as a class action on behalf of

the similarly situated class members as defined herein. This action is maintainable as a class

action pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3). The class consists of tens or hundreds

of thousands, if not millions, of DoorDash users who were inappropriately and illegally charged

fees as part of the DoorDash scheme.

        192.   Plaintiffs seek to recover these damages for themselves and a class of similarly

situated individuals who paid the following: (1) any and all delivery fees of any kind to

DoorDash as DoorDash’s records will establish; (2) hidden marketing fees on promotional items

as DoorDash’s records similarly will establish; and/or (3) any and all hidden commissions or

commission fees that DoorDash included in or took from menu items advertised to and paid by

consumers using the DoorDash Platform, which also will be reflected in DoorDash’s records.

        193.   Specifically, Plaintiffs bring this suit on behalf of the following Class: All persons

in the United States who, within the relevant statute of limitations periods, established a

DoorDash account and placed an order using either the DoorDash App or the website

DoorDash.com and who paid a “Delivery Fee,” an “Express (or Priority) Delivery Fee,” and/or

an “Extended Range Delivery Fee” and/or who purchased a promotional menu item that included




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a hidden “Marketing Fee” and/or who purchased a menu item that included a hidden

“Commission Fee” and/or who paid any combination of these fees (“the Nationwide Class”).

       194.    Plaintiff Hecox, individually and/or as next of friend for his minor child R.E.H.

who is a party to this case, Plaintiff R. Hecox who just reached age of majority, bring this suit on

behalf of the following Subclasses:

               a.      All parents and/or guardians in the United States who, within the relevant
               statute of limitations periods, established a DoorDash account and whose minor
               child or children placed an order from that account using either the DoorDash
               App or the website DoorDash.com and who paid a “Delivery Fee,” an “Express
               Delivery Fee” and/or an “Extended Range Delivery Fee” and/or who purchased a
               promotional menu item that included a hidden “Marketing Fee” and/or who
               purchased a menu item that included a hidden “Commission Fee” and/or who paid
               any combination of these fees (the “Nationwide Parents Class”).
               b.      All minors in the United States who, within the relevant statute of
               limitations periods, established a DoorDash account and who placed an order
               from that account using either the DoorDash App or the website DoorDash.com
               and who paid a “Delivery Fee,” an “Express Delivery Fee” and/or an “Extended
               Range Delivery Fee” and/or who purchased a promotional menu item that
               included a hidden “Marketing Fee” and/or who purchased a menu item that
               included a hidden “Commission Fee” and/or who paid any combination of these
               fees (the “Nationwide Minor Class”).
               c.      All persons resident in the State of Maryland who, within the relevant
               statute of limitations periods, established a DoorDash account and placed an order
               using either the DoorDash App or the website DoorDash.com and who paid a
               “Delivery Fee,” an “Express Delivery Fee” and/or an “Extended Range Delivery
               Fee” and/or who purchased a promotional menu item that included a hidden
               “Marketing Fee” and/or who purchased a menu item that included a hidden
               “Commission Fee” and/or who paid any combination of these fees (the “Maryland
               Class”).
               d.      All parents and/or guardians resident in the State of Maryland who, within
               the relevant statute of limitations periods, established a DoorDash account and
               whose minor child or children placed an order from that account using either the
               DoorDash App or the website DoorDash.com and who paid a “Delivery Fee,” an
               “Express Delivery Fee” and/or an “Extended Range Delivery Fee” and/or who
               purchased a promotional menu item that included a hidden “Marketing Fee”
               and/or who purchased a menu item that included a hidden “Commission Fee”
               and/or who paid any combination of these fees (the “Maryland Parents Class”).


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               e.      All minors resident in the State of Maryland who, within the relevant
               statute of limitations periods, established a DoorDash account and who place an
               order from that account using either the DoorDash App or the website
               DoorDash.com and who paid a “Delivery Fee,” an “Express Delivery Fee” and/or
               an “Extended Range Delivery Fee” and/or who purchased a promotional menu
               item that included a hidden “Marketing Fee” and/or who purchased a menu item
               that included a hidden “Commission Fee” and/or who paid any combination of
               these fees (the “Maryland Minor Class”).
       195.    DoorDash subjected Plaintiffs (including the Nationwide Class, Nationwide

Parents Class, Nationwide Minor Class, Maryland Class, Maryland Parents Class, Maryland

Minor Class) (collectively “Plaintiffs”) to the same wrongdoing and harmed them in the same

manner. Plaintiffs seek to enforce the same rights and remedies pursuant to the same legal

theories including: declaratory relief, injunctive relief, fraud (intentional misrepresentation or

deceit), negligent misrepresentation, and a violation of the Maryland Consumer Protection Act

[Md. §13-301 Unfair or deceptive trade practices].

       196.     Numerosity: The proposed Class and Subclasses are so numerous that joinder of

all members is impracticable. While the precise number and identities of class members are

unknown at this time, targeted discovery will provide the information.

       197.     Typicality: The claims of Plaintiffs are typical of the claims of the Class and

Subclasses because the claims arise from the same event or practice or course of conduct.

Plaintiffs are advancing legal theories applicable to the Class and Subclasses. And Plaintiffs’

measure of damages is the same as the measure of damages applicable to the Class and

Subclasses.

       198.    Adequacy: Plaintiffs and their counsel will fairly and adequately represent and

protect the interest of the Class and Subclasses. Plaintiffs’ counsel have considerable and

substantial experience in prosecuting and defending complex litigation, including class actions.

Plaintiffs and Plaintiffs’ counsel intend to vigorously pursue this litigation on behalf of


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themselves and the Class and Subclasses and have the financial resources to do so. Neither

Plaintiffs nor Plaintiffs’ counsel have any interests adverse to the interests of the Class and

Subclasses.

       199.    Superiority of Class Action: Plaintiffs have suffered the same harm because of

DoorDash’s unlawful conduct, and the same claims and defenses are at issue for all Plaintiffs. A

class action is superior to other methods for the fair and efficient adjudication of the controversy.

Joinder of individual members of the Class and Subclasses is impractical, inefficient, and unduly

burdensome on the individual members. By employing a class action vehicle, a single court can

adjudicate the issues resulting in both judicial economy and the fair and equitable handling of all

class claims. And a class action conserves the parties’ resources and protects the rights of the

Class and Subclasses. Were these claims to be adjudicated individually, as a practical matter, the

individual adjudications would be dispositive of the interests of other members not parties to the

adjudication and could substantially impair and impede the ability of the other members of the

Class and Subclasses to protect their interests.

       200.    Common Questions of Law and Fact Predominate: To further satisfy the

requirements of Fed. R. Civ. P. 23, there are questions of law and fact common to Plaintiffs’

claims and the claims of the Class and Subclasses that predominate over any question of law or

fact that relates to any individual member of the Class or Subclasses. Common questions of law

and fact include, without limitation, at least:

   •   Whether DoorDash properly and appropriately informed Plaintiffs about the Terms and
       Conditions when they signed up for the DoorDash service, including:

           o Whether DoorDash made a definitive offer supported by consideration.

           o Whether by signing up for DoorDash a consumer had the requisite intent or assent
             to contract with DoorDash that, among other things, purported to require the
             arbitration of any disputes and to impose a limit on the type and amount of
             damages that could be recovered.


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       o If a contract was formed, whether the arbitration clause is severable from the rest
         of the contract and whether it is supported by sufficient consideration.

       o If a contract is formed, whether the arbitration agreement is a contract of
         adhesion.

       o If a contract was formed, whether minor Plaintiffs have disavowed or disaffirmed
         the contract.

•   Whether DoorDash made false representations of material fact.

•   Whether DoorDash knew or should have known that its representations of material fact
    were false.

•   Whether DoorDash represented material fact with such reckless disregard for the truth
    that knowledge of the falsity can be imputed to DoorDash.

•   Whether DoorDash falsely represented material fact with the purpose of defrauding or
    deceiving consumers.

•   Whether Plaintiffs justifiably relied or had a presumption of reliance on DoorDash’s false
    representations of material fact given the true nature of DoorDash’s false representation
    was not determinable through the exercise of ordinary intelligence or diligence.

•   Whether Plaintiffs suffered actual damages because of their justifiable or presumed
    reliance on DoorDash’s false representations of material fact.

•   Whether DoorDash owed a duty of care and/or candor to Plaintiffs as a matter of law.

•   Whether DoorDash, in breach of its duty of care and/or candor to Plaintiffs, negligently
    made false representations of material fact.

•   Whether DoorDash, in breach of its duty of care and/or candor to Plaintiffs, negligently
    made false representations of material fact with the intention that Plaintiffs would rely
    upon and act in response to the false representations.

•   Whether DoorDash knew or should have known that Plaintiffs would rely on DoorDash’s
    false representations of material fact.

•   Whether Plaintiffs justifiably relied or had a presumption of reliance on and acted in
    response to DoorDash’s false representations of material fact.

•   Whether Plaintiffs suffered damages proximately caused by DoorDash’s negligence.

•   Whether DoorDash, in adopting, promoting, and/or charging its Express Delivery Fee,
    misrepresented material facts to consumers, like Plaintiffs, including the fact that:




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       o DoorDash knew or should have known it had no ability to control the manner or
         means of how or when Dashers performed their deliveries;

       o DoorDash knew or should have known that “direct to you” advertisement is
         misleading;

       o DoorDash knew or should have known that Dashers can stack orders;

       o DoorDash knew or should have known that Dashers did not know whether a
         consumer had paid for an express delivery;

       o DoorDash knew or should have known that as soon as a consumer chose an
         expedited delivery, the time for the delivery would be extended beyond the range
         for a standard delivery; and

       o DoorDash knew or should have known that the pre-order delivery windows were
         misleading and likely to entice consumers, like Plaintiffs, into placing orders.

•   Whether DoorDash, in adopting, promoting, and/or charging its Delivery Fee,
    misrepresented material facts to consumers, like Plaintiffs, including the fact that:

       o Dashers did not receive the Delivery Fee for their deliveries and that DoorDash
         retained the Delivery Fee completely;

       o DoorDash knew or should have known that its advertising tactics regarding
         discounts on the Delivery Fee were misleading;

       o DoorDash knew or should have known the Delivery Fee had nothing to do with
         the delivery of orders for consumers, like Plaintiffs, but instead related to the
         alleged cost to operate DoorDash’s technology;

       o DoorDash knew or should have known the Delivery Fee was an advertising sales
         gimmick; and

       o DoorDash knew or should have known that the pre-order delivery windows were
         misleading and enticed consumers, like Plaintiffs, into placing orders.

•   Whether DoorDash, in adopting, promoting, and/or charging its Extended Range
    Delivery Fee, misrepresented material facts to consumers, like Plaintiffs, including the
    fact that:

       o DoorDash knew or should have known that consumers like Plaintiffs did not have
         normal delivery areas;

       o DoorDash knew or should have known that they created delivery areas based on
         its merchants’ paid relationship with DoorDash without regard to closer delivery
         locations for consumers, like Plaintiffs, based on their location;



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       o DoorDash concealed a material fact from Plaintiffs that DoorDash charges the
         Extended Range Fee as a manner of increasing profit independent of Plaintiffs’
         normal delivery area; and

       o DoorDash knew or should have known that the pre-order delivery windows were
         misleading and enticed consumers, like Plaintiffs, into placing orders.

•   Whether DoorDash, in adopting, promoting, and/or charging its Marketing Fee,
    misrepresented material facts to consumers, like Plaintiffs, including the fact that:

       o DoorDash knew or should have known that consumers, like Plaintiffs, could not
         discover the hidden Marketing Fee through the exercise of ordinary diligence or
         intelligence;

       o DoorDash knew or should have known that consumers, like Plaintiffs, paid for
         promotional items for which they incurred and paid an unknown $0.99 that
         DoorDash collected; and

       o DoorDash knew or should have known that the pre-order delivery windows were
         misleading and enticed consumers, like Plaintiffs, into placing orders.

•   Whether DoorDash engaged in racketeering activity through the predicate acts of mail
    and wire fraud, including:

       o Whether DoorDash used a persistent course of conduct over numerous years to
         send advertisements through the mail to consumers; and

       o Whether DoorDash used text messages and email communications to contact
         consumers.

•   Whether DoorDash’s predicate acts are part of its complex fraudulent scheme to defraud
    consumers through a series of solicitations, misrepresentations, and deceiving
    advertisements, statements, and pricing practices.

•   Whether DoorDash engaged in a pattern of racketeering activity.

•   Whether DoorDash’s predicate acts are related or interrelated because they have the same
    or similar purposes, results, participants, victims, methods of commission, or other
    distinguishing characteristics.

•   Whether DoorDash’s predicate acts are continuous and involve both closed-ended and
    open-ended schemes.

•   Whether Stride Bank is an “enterprise” under the RICO statute.

•   Whether the DasherDirect Program is an “enterprise” under the RICO statute.




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    •   Whether DoorDash’s relationship with Stride Bank, Payfare, and the DasherDirect
        Program constitute an association in fact “enterprise” under the RICO statute.

    •   Whether the enterprise and the racketeering activity affect interstate commerce.

    •   Whether Plaintiffs sustained an injury as a result of DoorDash’s racketeering activity.

        201.    Notice: There are myriad methods for providing notice to the Class and

Subclasses including internet publication, utilization of social media, and traditional published

notice—all of which would be paid by DoorDash.

        202.    The Class and Subclasses specifically exclude counsel, including counsels’

employees, representing the Class and Subclasses, any judicial officer presiding over this matter,

the members of the judicial officers’ immediate families and judicial staff, and any individual

whose interests are antagonistic to the interests of other Class and Subclass members.

                     CAUSES OF ACTION AND CLAIMS FOR RELIEF

        203.    Based on all the allegations herein, Plaintiffs respectfully demand relief under the

following eleven causes of action.

                                   FIRST CLAIM FOR RELIEF
                 (DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF)

        204.    Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 203 when asserting the foregoing cause of action.

        205.    Pursuant to Fed. R. Civ. P. 23(b)(2), Class-wide declaratory judgment and

injunctive relief is appropriate because DoorDash has acted or refused to act on grounds that

apply generally to all the Plaintiffs.

        206.    More specifically, DoorDash has adopted a fee structure for its delivery services

that is misleading and induces consumers to act to their detriment.




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       207.     DoorDash’s method of giving consumers, including minor consumers, notice of

the Terms and Conditions that DoorDash will likely argue apply in this case was inadequate to

secure the consent of any consumer and, therefore, there is no contract between DoorDash and

any consumer.

       208.     Regardless of which method that consumers, like Plaintiffs, used to sign up,

DoorDash’s wrap agreement did not require or allow consumers, including minor consumers, to

manifest assent to the Terms and Conditions and Privacy Policy expressly; consequently, there is

no contractual relationship between DoorDash on the one hand and Plaintiffs, the Class, and

Subclasses on the other. Instead, Plaintiffs registered and used the DoorDash Platform without

seeing or reviewing the Terms and Conditions page.

       209.     This claim for declaratory judgment seeks a determination that (a) there is no

contract between DoorDash and Plaintiffs, the Class, and Subclasses; (b) this action may proceed

as a class action before this court; and (c) such other and further relief as is necessary and

appropriate, including the relief outlined in paragraph 210 below.

       210.     The Court must determine this issue of contract formation in which Plaintiffs for

themselves and their classes, challenge both DoorDash’s purported contract and its purported

arbitration agreement. In trying to remove important determinations from the Court’s purview

contrary to applicable law, DoorDash’s Terms and Conditions refer to delegating issues of

“formation of this Arbitration Agreement” to the arbitrator, “including, but not limited to, any

claim that all or any part of this Arbitration Agreement is void or voidable[.]” 122 In doing so, the

arbitration agreement conflates issues of contract formation with issues of contract rescission


122
   Ex. 16, Consumer Terms and Conditions – United States (Including Puerto Rico), DOORDASH
¶ 14(d) (Apr. 28, 2023), https://help.doordash.com/legal/document?type=cx-terms-and-
conditions&region=US&locale=en-US.


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rendering the delegation language ambiguous and thus unenforceable, in addition to being

contrary to applicable law. In seeking declaratory relief, Plaintiffs will need limited, targeted

discovery on issues relating to formation including but not limited to changes DoorDash made to

its sign up/registration page over the last four years and changes DoorDash has made to its

Terms and Conditions over the last four years.

        211.     To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:

        212.     A declaration that DoorDash adopt an open and straightforward fee structure so

that consumers will understand what they are paying for and how their fees are distributed and

allocated; and

        213.     A declaration that DoorDash cease and desist from its misleading and fraudulent

practices by charging or advertising delivery fees in any form when it does not deliver.

                                 SECOND CLAIM FOR RELIEF
   (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201 THAT THE ENTIRE
       TERMS AND CONDITIONS ARE UNENFORCEABLE AGAINST MINORS)

        214.     Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 213 when asserting the foregoing cause of action.

        215.     Under the law of the State of Maryland, as well as the law of other United States

jurisdictions, minors have the right to disaffirm contracts such as those at issue here and a parent

or guardian can disaffirm a contract on behalf of a minor.

        216.     Plaintiffs, on behalf of any minor whose interests they represent, hereby disaffirm

any contract that a court may determine to have existed between Plaintiffs and DoorDash.

        217.     The contracts between Plaintiffs and DoorDash on the other are void ab initio (or

alternatively void or voidable) to the extent that any minor was the person who established or



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used a DoorDash account given their lack of contractual capacity and given DoorDash’s own

specified disaffirmance of any contract with minors or allowing them to use its technology or

service.

            218.   There exists, therefore, an actual controversy between the parties requiring a

declaratory judgment.

            219.   This claim for declaratory judgment seeks a determination that (a) the contracts

between DoorDash and minor children are void ab initio (or alternatively void or voidable at the

option of the minor children or their parents or guardians); (b) this action may proceed as a class

action; (c) the minor children or their parents or guardians on their behalf have effectively voided

or otherwise disaffirmed the contracts by filing this lawsuit; and (d) such other and further relief

as is necessary and appropriate.

            220.   The Court must determine this issue of contract formation in which Plaintiffs for

themselves and their classes, challenge both DoorDash’s purported contract and its purported

arbitration agreement as it relates to minor children. In trying to remove important decisions

from the Court’s purview contrary to applicable law, DoorDash’s Terms and Conditions refer to

delegating issues of “formation of this Arbitration Agreement” to the arbitrator, “including, but

not limited to, any claim that all or any part of this Arbitration Agreement is void or

voidable[.]” 123 In doing so, the arbitration agreement conflates issues of contract formation with

issues of contract rescission, rendering the delegation language ambiguous, unenforceable, and

contrary to applicable law. In seeking declaratory relief, Plaintiffs will need limited, targeted

discovery on issues relating to formation including but not limited to changes DoorDash made to

its sign up/registration page over the last four years, changes DoorDash has made to its Terms


123
      Id.


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and Conditions over the last four years, and DoorDash’s prohibitions against minors’ use of its

platform.

       221.    Alternatively, this claim for declaratory judgment seeks a determination that (a)

the arbitration clause is severable from the other Terms and Conditions; (b) the arbitration clause

is unenforceable against the minor consumers; and (c) such other and further relief as is

necessary and appropriate.

                                THIRD CLAIM FOR RELIEF
               (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201
              THAT THE ARBITRATION AGREEMENT IS UNENFORCEABLE)

       222.    Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 221 when asserting the foregoing cause of action.

       223.    In the event a court determines that a contract was formed when a consumer,

including a minor consumer, signed-up and used DoorDash’s services, declaratory relief is still

necessary and appropriate.

       224.    Arbitration clauses are severable from the whole of the contract in which they are

contained. 124 To be enforceable, arbitration clauses require consideration independent of any

consideration for the remainder of the Terms and Conditions.125

       225.    In this case, the consideration for the arbitration agreement is illusory because

DoorDash reserves the right to modify the Terms and Conditions at any time. So, in paragraph


124
   See generally Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 70-71 (2010) (“[A]s a matter of
‘substantive federal arbitration law, an arbitration provision is severable from the remainder of
the contract.’”) (citations omitted). See also Coady v. Nationwide Motor Sales Corp., 32 F.4th
288, 291 (4th Cir. 2022) (“[A]n arbitration provision is an ‘independently enforceable contract’
that is a ‘severable part’ of the larger agreement.”).
125
   See generally Jones v. Prosper Marketplace, Inc., No. GJH-21-893, 2022 WL 834210, at *12
(D. Md. March 21, 2022) (“To be binding and enforceable, contracts ordinarily require
consideration.”).


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14(h), DoorDash says that “updates to these Terms and Conditions do not provide a new

opportunity to opt out of the Arbitration Agreement for customers or Users who had previously

agreed to a version of [these] Terms and Conditions. . . .” Thus, DoorDash retained the right to

unilaterally change the terms and conditions without affording a subsequent opt-out right. As a

result, the consideration is illusory. 126

         226.    Alternatively, in paragraph 3 of the Terms and Conditions, DoorDash “reserves

the right to modify the terms and conditions of this Agreement . . . at any time. . . .” Because the

modification agreement was contained within the same Terms and Conditions as the arbitration

agreement, there was insufficient consideration to support an enforceable agreement to

arbitrate. 127

         227.    Given the lack of consideration, the arbitration provision is unenforceable to

Plaintiffs.

         228.    This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) there is no enforceable arbitration agreement between DoorDash

and the Plaintiffs; and (c) such other and further relief as is necessary and appropriate, including

the relief outlined in paragraph 229 below.

         229.    To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:



126
    Id. at *13 (“[O]ne party’s unilateral right to amend an agreement at any time can constitute an
‘illusory promise’”) (citations omitted).
127
    See generally Caire v. Conifer Value Based Care, LLC, 982 F. Supp. 2d 582, 594 (D. Md.
2013) (where one party reserves the right to alter the arbitration clause there is “’no real promise
at all’”) (citations omitted). See also Coady v. Nationwide Motor Sales Corp., No. 20-cv-1142-
SAG, 2020 WL 6785352, at *5 (D. Md. Nov. 18, 2020) (where the arbitration provision and
authority to change the terms and conditions are within the same document, a court can
determine there is no consideration for the agreement to arbitrate).


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        230.     A declaration that DoorDash adopt an open and straightforward fee structure so

that consumers will understand what they are paying for and how their fees are distributed and

allocated; and

        231.     A declaration that DoorDash cease and desist from its misleading and fraudulent

practices including advertising or assessing any delivery fee when DoorDash does not perform

delivery services.

        232.     Alternatively, this claim for declaratory judgment seeks a determination that (a)

the arbitration clause is severable from the other Terms and Conditions; and (b) the arbitration

clause is unenforceable against the minor consumers for the same reason concerning the lack of

adequate consideration.

                                 FOURTH CLAIM FOR RELIEF
     (DECLARATORY JUDGMENT PURSUANT TO 28 U.S.C. § 2201 THAT THE
  ARBITRATION PROVISION IS AN UNENFORCEABLE CONTRACT OF ADHESION)

        233.     Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 232 when asserting the foregoing cause of action.

        234.     In the event a court determines that a contract was formed when a consumer,

including a minor consumer, signed-up and used DoorDash’s services, and in the event a court

determines that the consideration for the arbitration provision in the contract is sufficient,

declaratory relief is still necessary and appropriate.

        235.     The arbitration provision contains a waiver of significant rights including the right

to a trial by jury, the right to bring an action as a class action, and the right to seek injunctive

relief. It also imposes a drastically reduced statute of limitations.




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          236.    The arbitration provision is itself a contract of adhesion in that was “drafted

unilaterally by the dominant party and then presented on a take-it-or-leave-it basis to the weaker

party who has no real opportunity to bargain about its terms.” 128

          237.    A court can decline to enforce an arbitration provision that is “so one-sided as to

oppress or unfairly surprise an innocent party” or when “there exists an egregious imbalance in

the obligations and rights imposed by the arbitration clause.” 129

          238.    The arbitration provision at issue is as one-sided as a contract provision could be.

DoorDash receives protection from a jury, shelter from important kinds of relief, and a shield

against collective claims. The consumers get nothing in return.

          239.    Alternatively, given the oppressive nature of the contract of adhesions terms and

the waiver of critical rights, consumers, like Plaintiffs, could only manifest assent to the contract

through an affirmative acknowledgement separate and independent of any implicit consent

purportedly provided by “signing up” for a DoorDash account.

          240.    This claim for declaratory judgment seeks a determination that (a) this action may

proceed as a class action; (b) the arbitration provision is a contract of adhesion; (c) the arbitration

provision is null and void; (d) Plaintiffs are entitled to recover for their injuries incurred because

of DoorDash’s misleading fee structure; (e) Plaintiffs are entitled to an award of attorneys’ fees

and expenses to be determined by the Court; and (f) such other and further relief as is necessary

and appropriate, including the relief outlined in paragraph 135 below.

          241.    To remedy the injuries that DoorDash’s misleading fee structure has caused,

Plaintiffs are entitled to at least the following injunctive relief:


128
  Mbongo v. Robinhood Markets, Inc., No. 714, 2022 WL 621797, at *4 (Md. Ct. of Spec. App.
March 3, 2022).
129
      Id. (citations omitted).


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       242.      A declaration that DoorDash adopt an open and straightforward fee structure so

that consumers will understand what they are paying for and how their fees are distributed and

allocated; and

       243.      A declaration that DoorDash cease and desist from its misleading and fraudulent

practices including advertising or assessing any delivery fee when DoorDash does not perform

delivery services.

       244.      Alternatively, this claim for declaratory judgment seeks a determination that (a)

the arbitration clause is severable from the other Terms and Conditions; and (b) the arbitration

clause is unenforceable against the minor consumers for the same reason concerning the lack of

mutual assent absent an express affirmation of acceptance of the contract terms.

                                   FIFTH CLAIM FOR RELIEF
                           (RICO VIOLATION OF 18 U.S.C. § 1962(a))

       245.      Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 244 when asserting the foregoing cause of action.

       246.      This cause of action is against DoorDash.

       247.      DoorDash and/or Stride Bank and/or the DasherDirect Program are enterprises

whose activities affect interstate commerce.

       248.      DoorDash and/or Stride Bank and/or the DasherDirect Program used and invested

income that was derived from a pattern of racketeering activity in an interstate enterprise.

Specifically, DoorDash used and invested the racketeering income into the DasherDirect

Program and invested into other programs, like DoorDash Capital. DoorDash made additional

income from the invested racketeering income.

       249.      DoorDash’s mail and wire fraud constitute a pattern of racketeering activity

pursuant to 18 U.S.C. § 1961(5).


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        250.    As a direct and proximate result of DoorDash’s racketeering activities and

violations of 18 U.S.C. § 1962(a), Plaintiffs have been injured in their business and property in

that they have suffered a monetary injury.

        251.    WHEREFORE, Plaintiff requests that this Court enter judgment against

DoorDash on this cause of action as follows:

        252.    An award of actual damages, the precise measure of which is to be determined;

        253.    An award of treble damages; and

        254.    An award to attorney’s fees and expenses.

                                   SIXTH CLAIM FOR RELIEF
                            (RICO VIOLATION OF 18 U.S.C. § 1962(c))

        255.    Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 254 when asserting the foregoing cause of action.

        256.    This cause of action is against DoorDash.

        257.    Stride Bank and/or the DasherDirect Program is an enterprise engaged in and

whose activities affect interstate commerce. DoorDash is associated with the enterprise.

        258.    DoorDash agreed to and did conduct and participate in the conduct of the

enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose of

intentionally defrauding Plaintiff. Specifically, DoorDash recruited and hired Dashers; advertised

the DasherDirect Program on the DoorDash website, including agreements between Stride Bank

and Payfare with Dashers; created the program’s participation policies and rules; provided

Dashers with the tools to participate in and register for the program; and steered and manipulated

Dashers’ participation in the program through heavy-handed and fraudulent conduct identified

herein. DoorDash’s heavy-handed and fraudulent conduct as part of its management of the

DasherDirect Program includes, but is not limited to, holding Dashers’ compensation for up to a


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week; implementing a Fast Pay for non-participating Dashers; creating rules that prohibited both

participating in Fast Pay and the DasherDirect Program; managing the Dashers’ funds for

purposes of allocating those funds to Stride Bank by each individual Dashers’ name who

participate in the program; and using its pattern of racketeering activities to control and limit

Dasher compensation, creating more leverage to direct or otherwise manipulate Dashers’

participation in the DasherDirect Program.

       259.    Pursuant to and in furtherance of their fraudulent scheme, DoorDash committed

multiple related acts of mail and wire fraud.

       260.    The mail and wire fraud set forth above constitute a pattern of racketeering

activity pursuant to 18 U.S.C. § 1961(5).

       261.    DoorDash directly and indirectly has conducted and participated in the conduct of

the enterprise’s affairs through the pattern of racketeering and activity described above, in

violation of 18 U.S.C. § 1962(c).

       262.    As a direct and proximate result of DoorDash’s racketeering activities and

violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property in

that they have suffered monetary injury.

       263.    WHEREFORE, Plaintiff requests that this Court enter judgment against

DoorDash on this cause of action as follows:

       264.    An award of actual damages, the precise measure of which is to be determined;

       265.    An award of treble damages; and

       266.    An award to attorney’s fees and expenses.




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                              SEVENTH CLAIM FOR RELIEF
                                     (FRAUD OR DECEIT)

       267.    Plaintiffs reassert, reallege, and incorporate herein by reference the allegations

set out in paragraphs 1 through 266 when asserting the foregoing cause of action.

       268.    DoorDash made false representations or omissions of material fact to Plaintiffs,

including but not limited to: DoorDash drivers would be paid delivery fees for making deliveries;

DoorDash had the ability to control the time and manner of a consumer’s delivery; an express

order would be delivered directly to the consumer; drivers knew when orders were priority and

direct to you; the Extended Range Fees arose from consumers’ locations and applied to all

consumers equally; advertised delivery windows represented true estimates of the prospective

delivery time; advertised discounts represented actual discounts; each delivery fee was logically

derived and not an unjustifiable advertisement or phantom charge passed back to the consumer

by increasing a different charge/fee; promotional items did not include hidden fees that

consumers paid; DashPass members received savings represented by strikethrough pricing; and

menu items did not include commissions and fees including surcharges on credit card payments.

       269.    DoorDash made false representations and omissions during each instance

consumers, like Plaintiffs, placed an order on the DoorDash website or the DoorDash App and

DoorDash advertised, charged and/or collected a Delivery Fee, an Express Fee, an Extended

Range Fee, a Marketing Fee, and/or a Commission Fee from consumers, like Plaintiffs, on their

respective order.

       270.    Among the false representations and omissions, in addition to those in paragraph

268, that DoorDash made include, at least, the following:




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   a. DoorDash, in adopting, promoting, and/or charging its Express Delivery Fee,

knew or should have known that it had no ability to control the manner or means of how

or when Dashers performed their deliveries;

   b. DoorDash knew or should have known that “direct to you” as used for the

Express Delivery Fee advertisements was not only misleading but patently false because

DoorDash knew Dashers could stack orders, Dashers did not know that a consumer had

paid a direct delivery fee, and the delivery time would actually exceed that for a standard

delivery without any warning that was possible;

   c. The inference that the Express Delivery Fee was paid to Dashers;

   d. The Delivery Fee had nothing to do with the actual delivery of orders for

consumers but instead related to the cost to operate the DoorDash Platform/technology;

   e. DoorDash knew or should have known the Express Delivery Fee was simply an

advertising gimmick and not a real effort to get orders to consumers sooner;

   f. DoorDash established the Extended Range Delivery Fee but knew or should have

known consumers did not have “normal delivery areas”;

   g. DoorDash, in assessing the Extended Range Delivery Fee, knew or should have

known the delivery fee was based on the restaurants’ paid relationships with DoorDash

and had nothing to do with the location of the consumer;

   h. DoorDash concealed that DoorDash charges the Extended Range Fee as a means

of increasing profit;

   i. DoorDash knew or should have known the delivery windows it promised were

illusory and merely intended to entice consumers into placing orders;




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            j. DoorDash incorporated a “marketing fee” into the charges to consumers, knowing

        that consumers, in the exercise of ordinary diligence, could not discover the hidden fee;

            k. DoorDash knew or should have known that consumers were paying for

        promotional items through payment of a $0.99 marketing fee that was undisclosed and

        that misled consumers to believe they were getting something for free or at a reduced

        price;

            l. DoorDash knew or should have known that it charged and collected from

        consumers commission fees that it did not disclose and surreptitiously included in the

        price of menu items;

            m. DoorDash knew or should have known that the commission fees included credit

        card surcharges that it did not disclose and surreptitiously included in the price of menu

        items;

            n. DoorDash knew or should have known that it used price drip, dark patterns, and

        partition pricing in advertising prices and fees to deceive consumers into transactions;

            o. DoorDash knew or should have known that its disclosure omitted, misstated, or

        incorrectly provided information about its prices and fees; and

            p. DoorDash knew or should have known that it provided misleading and false

        pricing and savings without disclosing such information to consumers.

        271.     DoorDash knew, and had actual knowledge, that the representations it made to

Plaintiffs were false.

        272.     Alternatively, DoorDash acted with reckless disregard of the truth of its

representations to Plaintiffs such that it would be reasonable to charge DoorDash with the falsity

of its representations.




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          273.   DoorDash intended that Plaintiffs would act in reliance on DoorDash’s false

representations.

          274.   Plaintiffs relied on DoorDash’s false presentations and Plaintiffs’ reliance was

justified and justifiable—whether it was reasonable, justifiable, or mere reliance on fact 130—was

necessary and appropriate. Indeed, the law does not require one who has been defrauded to

investigate the possibility of fraud before relying—as Plaintiffs did here—on the representations

of another.

          275.   As a direct and proximate result of DoorDash’s fraudulent misrepresentations,

Plaintiffs sustained damages.

          276.   DoorDash acted with malice in making false representations and Plaintiffs are

therefore entitled to recover punitive damages.

                                 EIGHTH CLAIM FOR RELIEF
                                (FRAUDULENT CONCEALMENT)

          277.   Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 276 when asserting the foregoing cause of action.

          278.   DoorDash took affirmative action to conceal a material fact that Plaintiffs could

not have discovered even with the exercise of reasonable diligence. 131

          279.   DoorDash had a duty to disclose material facts because DoorDash’s concealment

of the facts underlying its express and extended range charges, and other fees and chargers, was

intentional and effective. DoorDash hid material facts with the attained object of creating or




130
      See Field v. Mans, 516 U.S. 59, 72-73 (1995).
131
  Rhee v. Highland Development Corp., 182 Md. App. 516, 958 A.2d 385, 390 (Md. Ct. Special
App. 2008).


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continuing a false impression as to that fact. Its “affirmative suppression of the truth” was made

with an “intent to deceive.” 132

            280.   DoorDash also had a duty to disclose material facts when DoorDash tried to

obfuscate and confuse consumers with psychologically manipulative pricing structure to conceal

the real nature of the charges. 133

            281.   DoorDash failed to disclose materials facts, including (a) that it was charging an

express fee with the representation the order would be directly delivered to the consumer when

DoorDash had no ability to control the time or manner of deliveries: (b) that it was charging an

express fee with the representation the order would be delivered faster than the predicted order

time for a non-express order when, in fact, the express delivery frequently took longer to be

received; (c) that DoorDash had no factual basis for imposing the extended range delivery fee;

and that other fees and charges as detailed above were similarly misleading.

            282.   DoorDash intended to defraud or deceive Plaintiffs.

            283.   Plaintiffs took actions, namely using DoorDash’s service, in reliance on its

concealment. Plaintiffs’ reliance—whether it was reasonable, justifiable, or mere reliance on

fact 134—was necessary and appropriate. Indeed, the law does not require one who has been

defrauded to investigate the possibility of fraud before relying—as Plaintiffs did here—on the

representations of another.

            284.   As a direct and proximate result of DoorDash’s fraudulent concealment, Plaintiffs

sustained damages.



132
      Id.
133
      Lloyd v. Gen’l Motors Corp., 397 Md. 108, 916 A.2d 257, 275, n.11 (Md. App. 2007).
134
      See Field v. Mans, 516 U.S. 59, 72-73 (1995).


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          285.   Further, DoorDash acted with malice in failing to disclose material facts and

Plaintiffs are therefore entitled to recover punitive damages.

                                   NINTH CLAIM FOR RELIEF
                              (NEGLIGENT MISREPRESENTATION)

          286.   Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 285 when asserting the foregoing cause of action.

          287.   DoorDash owed a legal and statutory duty of care to Plaintiffs, including but not

limited to a duty of care arising out of its role as an entity that directly or indirectly sold and/or

marketed goods and services to Plaintiffs.

          288.   Plaintiffs relied on DoorDash’s false presentations and Plaintiffs’ reliance—

whether it was reasonable, justifiable, or mere reliance on fact 135—was necessary and

appropriate. Indeed, the law does not require one who has been defrauded to investigate the

possibility of fraud before relying—as Plaintiffs did here—on the representations of another.

          289.   DoorDash negligently made false statements of material fact about its delivery

and service fees.

          290.   DoorDash intended that Plaintiffs would act in reliance upon the false statements

of material fact referenced in paragraph 268 to 270.

          291.   DoorDash knew or should have known that Plaintiffs would rely on the false

statements of material fact referenced in paragraph 268 to 270.

          292.   Plaintiffs justifiably acted in reliance on the false statements of material fact

referenced in paragraph 268 to 270.




135
      See Field v. Mans, 516 U.S. 59, 72-73 (1995).


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         293.   As a direct and proximate result of DoorDash’s negligent misrepresentation,

Plaintiffs sustained damages.

         294.   Further, DoorDash acted with malice in making its misrepresentations and

Plaintiffs are therefore entitled to recover punitive damages.

                                 TENTH CLAIM FOR RELIEF
                                    (UNJUST ENRICHMENT)

         295.   Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 294 when asserting the foregoing cause of action. DoorDash owed a

legal and statutory duty to Plaintiffs to not unfairly or unduly take advantage of them or to

commit wrongful acts to enrich itself at Plaintiffs’ expense.

         296.   Plaintiffs conferred a benefit on DoorDash by placing orders for the delivery of

food from merchants and paying for the delivery of food by Dashers.

         297.   DoorDash knew and/or appreciated the benefit that Plaintiffs conferred.

         298.   DoorDash accepted or retained the benefit under circumstances that would be

inequitable to allow DoorDash to retain the benefit without the paying of value in return. 136

         299.   As a direct and proximate result of DoorDash’s unjust enrichment, Plaintiffs

sustained damages.

                                ELEVENTH CLAIM FOR RELIEF
            (VIOLATION OF THE MARYLAND CONSUMER PROTECTION ACT)

         300.   Plaintiffs reassert, reallege, and incorporate herein by reference the allegations set

out in paragraphs 1 through 299 when asserting the foregoing cause of action.




136
      Jackson v. 2019 Brandywine, LLC, 180 Md. App. 535, 952 A.2d 304 (2008).


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          301.   Plaintiffs are consumers under the Maryland Consumer Protection Act, Md. Code

Ann. Com. Law. §13-101, et seq. in that they are actual or perspective purchasers, lessees, or

recipients of consumer goods, consumer services, consumer realty, or consumer credit. See Md.

Code Ann. Com. Law. §13-101(c)(1).

          302.   DoorDash is a merchant under the Maryland Consumer Protection Act, Md. Code

Ann. Com. Law. §13-101, et seq. in that it directly or indirectly either offers or makes available

to consumers any consumer goods, consumer services, consumer realty, or consumer credit. See

Md. Code Ann. Com. Law. §13-101(g)(1).

          303.   DoorDash has engaged in unfair, abusive, or deceptive trade practices in violation

of the Maryland Consumer Protection Act.

          304.   Specifically, DoorDash has made false statements which have the capacity,

tendency, or effect of deceiving or misleading consumers. See Md. Code Ann. Com. Law. §13-

301(1).

          305.   In addition, DoorDash—in violation of the Maryland Consumer Protection Act—

has failed to state a material fact and its failure to state a material fact deceives or tends to

deceive consumers. See Md. Code Ann. Com. Law. §13-301(3).

          306.   And in violation of the Maryland Consumer Protection Act, DoorDash has

engaged in deception, fraud, false pretense, false premise, misrepresentation, or knowing

concealment, suppression, or omission of any material fact with the intent to have a consumer

rely on the same with the promotion or sale of any consumer goods, consumer realty, or

consumer service. See Md. Code Ann. Com. Law. §13-303(9)(i).

          307.   As a direct and proximate result of DoorDash’s violation of the Maryland

Consumer Protection Act, Plaintiffs sustained damages.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, the Class, and Subclasses DEMAND:
       A.      A jury trial on all issues so triable;

       B.      Award Plaintiffs such preliminary injunctive and ancillary relief as may be

necessary to avert the likelihood of consumer injury during the pendency of this action and to

preserve the possibility of effective final relief, including but not limited to, temporary and

preliminary injunctions, and an order freezing assets;

       C.      Entry of a permanent injunction to prevent DoorDash from engaging in future

fraudulent or misleading pricing practices and violations of Maryland Consumer Protection Act,

including but not limited to prohibiting DoorDash from advertising or collecting any delivery fee

whatsoever of any kind unless such fee is collected for and paid to delivery drivers and

prohibiting DoorDash from advertising and collecting any hidden marketing fee;

       D.      Award such relief, including monetary damages consistent with the law, as the

Court finds necessary to redress injury to consumers like Plaintiffs resulting from Defendants’

deceptive and fraudulent actions, including but not limited to, rescission or reformation of

contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies;

       E.      Award treble damages; and

       F.      Award Plaintiff the costs of bringing this action together with attorneys’ fees, as

well as such other and additional relief as the Court may determine to be just and proper.


On this 5th day of May, 2023.                      Respectfully submitted:

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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 5, 2023, I electronically filed the foregoing FIRST

AMENDED CLASS ACTION COMPLAINT FOR DECLARATORY JUDGMENT,

MONETARY DAMAGES, INJUNCTIVE RELIEF, AND DEMAND FOR JURY TRIAL

with the Clerk of the Court using the CM/ECF system and sent a copy thereof via certified mail

to the following:

                                 The Corporation Trust, Inc.
                                 2405 York Road, Suite 201
                              Lutherville-Timonium, MD 21093
                                (Resident Agent for DoorDash)
I also sent a copy via FedEx to the following counsel who signed the Waiver of Summons:

                                      Michael Holecek
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                                (Counsel on Waiver Summons
                                    For DoorDash, Inc.)



                                                    /s/ Thomas R. Bundy III
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